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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


                                                        )      Chapter 11
                                                        )
                                                        )      Case No. 19-76260
                                                        )      Case No. 19-76263
In re:                                                  )      Case No. 19-76267
                                                        )      Case No. 19-76268
Absolut Facilities Management, LLC, et al.              )      Case No. 19-76269
                                                        )      Case No. 19-76270
                          Debtors.1                     )      Case No. 19-76271
                                                        )      Case No. 19-76272
                                                        )
                                                        )      (Jointly Administered)


                   SCHEDULE OF ASSETS AND LIABILITIES FOR
              ABSOLUT CENTER FOR NURSING AND REHABILITATION AT
                       ALLEGANY, LLC (CASE NO. 19-76263)




          1
             The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax
identification number, are: Absolut Facilities Management, LLC (1412); Absolut Center for Nursing and
Rehabilitation at Allegany, LLC (7875); Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC (8266);
Absolut Center for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641);
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and
Rehabilitation at Three Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC
(7924).
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UNITED STATES BANKRUPTCY COURT
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                          Debtors. 1                      )     Case No. 19-76271-ast
                                                          )     Case No. 19-76272-ast
                                                          )
                                                          )     (Jointly Administered)
                                                          )

                 GLOBAL NOTES, METHODOLOGY AND SPECIFIC
             DISCLOSURES REGARDING THE DEBTORS’ SCHEDULES OF
         ASSETS AND LIABILITIES AND STATEMENT OF FINANCIAL AFFAIRS

                                                  Introduction

        Absolut Facilities Management, LLC and its affiliated debtors and debtors-in-possession
(collectively, the “Debtors”) with the assistance of their advisors, have filed their respective
Schedules of Assets and Liabilities (the “Schedules”) and Statements of Financial Affairs
(the “Statements,” and together with the Schedules, the “Schedules and Statements”) with
the United States Bankruptcy Court for the Eastern District of New York (the “Bankruptcy
Court”), pursuant to section 521 of title 11 of the United States Code (the “Bankruptcy Code”)
and Rule 1007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).
       These Global Notes, Methodology, and Specific Disclosures Regarding the Debtors’
Schedules of Assets and Liabilities and Statement of Financial Affairs (the “Global Notes”)
pertain to, are incorporated by reference in, and comprise an integral part of each Debtor’s
Schedules and Statements. The Global Notes should be referred to, considered, and reviewed in
connection with any review of the Schedules and Statements.
        The Schedules and Statements do not purport to represent financial statements prepared
in accordance with Generally Accepted Accounting Principles in the United States (“GAAP”),
nor are they intended to be fully reconciled with the financial statements of each Debtor (whether

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for Nursing and Rehabilitation at Gasport, LLC (8080); Absolut at Orchard Brooke, LLC (1641); Absolut Center for
Nursing and Rehabilitation at Orchard Park, LLC (8300); Absolut Center for Nursing and Rehabilitation at Three
Rivers, LLC (8133); and Absolut Center for Nursing and Rehabilitation at Westfield, LLC (7924).


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publicly filed or otherwise). Additionally, the Schedules and Statements contain unaudited
information that is subject to further review and potential adjustment, and reflect the Debtors’
reasonable efforts to report the assets and liabilities of each Debtor on an unconsolidated basis.
       In preparing the Schedules and Statements, the Debtors relied upon information derived
from their books and records that was available at the time of such preparation. Although the
Debtors have made reasonable efforts to ensure the accuracy and completeness of such financial
information, inadvertent errors or omissions, as well as the discovery of conflicting, revised, or
subsequent information, may cause a material change to the Schedules and Statements.
        The Debtors and their officers, employees, agents, attorneys, and financial advisors do not
guarantee or warrant the accuracy or completeness of the data that is provided in the Schedules
and Statements and shall not be liable for any loss or injury arising out of or caused in whole or
in part by the acts, omissions, whether negligent or otherwise, in procuring, compiling,
collecting, interpreting, reporting, communicating or delivering the information contained in the
Schedules and Statements. Except as expressly required by the Bankruptcy Code, the Debtors
and their officers, employees, agents, attorneys and financial advisors expressly do not undertake
any obligation to update, modify, revise, or re-categorize the information provided in the
Schedules and Statements or to notify any third party should the information be updated, modified,
revised, or re-categorized. The Debtors, on behalf of themselves, their officers, employees, agents
and advisors disclaim any liability to any third party arising out of or related to the information
contained in the Schedules and Statements and reserve all rights with respect thereto.
        The Schedules and Statements have been signed by an authorized representative of each
of the Debtors. In reviewing and signing the Schedules and Statements, this representative relied
upon the efforts, statements and representations of the Debtors’ other personnel and professionals.
The representative has not (and could not have) personally verified the accuracy of each such
statement and representation, including, for example and without limitation, statements and
representations concerning amounts owed to creditors and their addresses.
                          Global Notes and Overview of Methodology
 1. Reservation of Rights. Reasonable efforts have been made to prepare and file complete
    and accurate Schedules and Statements; however, inadvertent errors or omissions may exist.
    The Debtors reserve all rights to amend or supplement the Schedules and Statements from
    time to time, in all respects, as may be necessary or appropriate, including, without
    limitation, the right to amend the Schedules and Statements with respect to any claim
    (“Claim”) description, designation, or Debtor against which the Claim is asserted; dispute
    or otherwise assert offsets or defenses to any Claim reflected in the Schedules and
    Statements as to amount, liability, priority, status, or classification; subsequently designate
    any Claim as “disputed,” “contingent,” or “unliquidated;” or object to the extent, validity,
    enforceability, priority, or avoidability of any Claim. Any failure to designate a Claim in
    the Schedules and Statements as “disputed,” “contingent,” or “unliquidated” does not
    constitute an admission by the Debtors that such Claim or amount is not “disputed,”
    “contingent,” or “unliquidated.” Listing a Claim does not constitute an admission of
    liability by the Debtor against which the Claim is listed or against any of the Debtors.
    Furthermore, nothing contained in the Schedules and Statements shall constitute a waiver
    of rights with respect to the Debtors’ chapter 11 cases, including, without limitation,
    issues involving Claims, substantive consolidation, defenses, equitable subordination,


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      recharacterization, and/or causes of action arising under the provisions of chapter 5 of the
      Bankruptcy Code, and any other relevant non- bankruptcy laws to recover assets or avoid
      transfers. Any specific reservation of rights contained elsewhere in the Global Notes
      does not limit in any respect the general reservation of rights contained in this paragraph.
      Notwithstanding the foregoing, the Debtors shall not be required to update the Schedules
      and Statements.
      The listing in the Schedules or Statements (including, without limitation, Schedule
      A/B, Schedule E/F or Statement 4) by the Debtors of any obligation between a Debtor and
      another Debtor is a statement of what appears in the Debtors’ books and records and does
      not reflect any admission or conclusion of the Debtors regarding whether such amount would
      be allowed as a Claim or how such obligations may be classified and/or characterized in a
      plan of reorganization or by the Bankruptcy Court.
 2. Description of Cases and “as of” Information Date. On September 10, 2019 (the
    “Petition Date”), the Debtors filed voluntary petitions for relief under chapter 11 of the
    Bankruptcy Code. The Debtors are operating their businesses and managing their properties
    as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.
    On September 20, 2019, the Bankruptcy Court entered an order directing procedural
    consolidation and joint administration of the Debtors’ chapter 11 cases [Docket No. 48].
      The asset information provided in the Schedules and Statements, except as otherwise
      noted, represents the asset data of the Debtors as of September 10, 2019.
 3. Net Book Value of Assets. It would be prohibitively expensive, unduly burdensome, and
    an inefficient use of estate assets for the Debtors to obtain current market valuations for
    all of their assets. Accordingly, unless otherwise indicated, the Debtors’ Schedules and
    Statements reflect net book values as of the close of business on September 10, 2019, in
    the Debtors’ books and records. Additionally, because the book values of certain assets,
    may materially differ from their fair market values, they may be listed as undetermined
    amounts as of the Petition Date. Furthermore, as applicable, assets that have fully
    depreciated or were expensed for accounting purposes may not appear in the Schedules
    and Statements if they have no net book value.
 4. Recharacterization. Notwithstanding the Debtors’ reasonable efforts to properly
    characterize, classify, categorize, or designate certain Claims, assets, executory contracts,
    unexpired leases, and other items reported in the Schedules and Statements, the Debtors
    may, nevertheless, have improperly characterized, classified, categorized, designated, or
    omitted certain items due to, among other things, the complexity and size of the Debtors’
    businesses.     Accordingly, the Debtors reserve all of their rights to recharacterize,
    reclassify, recategorize, redesignate, add, or delete items reported in the Schedules and
    Statements at a later time as is necessary, to the extent appropriate or to the extent additional
    information becomes available, including, without limitation, whether contracts or leases
    listed herein were deemed executory or unexpired as of the Petition Date and remain
    executory and unexpired postpetition, whether claims are secured or unsecured or whether
    claims are entitled to priority or no priority.
 5. Real Property and Personal Property–Leased. In the ordinary course of their businesses,
    the Debtors leased real property and various articles of personal property, including,
    fixtures, and equipment, from certain third-party lessors. The Debtors have made

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      reasonable efforts to list all such leases in the Schedules and Statements. The Debtors
      have made reasonable efforts to include lease obligations on Schedule D (secured debt) to
      the extent applicable and to the extent the lessor filed a UCC-1. However, nothing in the
      Schedules or Statements is or shall be construed as an admission or determination as to
      the legal status of any lease (including whether to assume and assign or reject such lease
      or whether it is a true lease or properly designated as a financing arrangement).
 6. Excluded Assets and Liabilities. The Debtors have sought to allocate liabilities between
    the prepetition and post-petition periods based on the information and research
    conducted in connection with the preparation of the Schedules and Statements. As
    additional information becomes available and further research is conducted, the allocation
    of liabilities between the prepetition and post-petition periods may change.
      The liabilities listed on the Schedules do not reflect any analysis of Claims under section
      503(b)(9) of the Bankruptcy Code. Accordingly, the Debtors reserve all of their rights
      to dispute or challenge the validity of any asserted Claims under section 503(b)(9) of
      the Bankruptcy Code or the characterization of the structure of any such transaction
      or any document or instrument related to any creditor’s Claim.
      The Debtors have excluded certain categories of assets, tax accruals, and liabilities from
      the Schedules and Statements, including, without limitation, goodwill, accrued salaries,
      certain employee benefit accruals, and deferred gains. In addition, certain immaterial
      assets and liabilities may have been excluded.
      The Bankruptcy Court has authorized the Debtors to pay, in their discretion, certain
      outstanding Claims on a post-petition basis. Prepetition liabilities which have been paid
      post-petition have been excluded from the Schedules and Statements. To the extent the
      Debtors pay any of the claims listed in the Schedules and Statements pursuant to any orders
      entered by the Bankruptcy Court, the Debtors reserve all rights to amend and supplement
      the Schedules and Statements and take other action, such as filing claims objections, as is
      necessary and appropriate to avoid overpayment or duplicate payment for such liabilities.
 7. Insiders. Solely, for purposes of the Schedules and Statements, the Debtors define
    “insiders” to include the following: (a) directors; (b) equity holders holding 1% or more of
    the equity interest of the Debtor entities; and (c) relatives of any of the foregoing (to the
    extent known by the Debtors). Entities listed as “insiders” have been included for
    informational purposes and their inclusion shall not constitute an admission that those
    entities are insiders for purposes of section 101(31) of the Bankruptcy Code.
 8. Intercompany and Other Transactions. For certain reporting and internal accounting
    purposes, the Debtors record certain intercompany receivables and payables. Receivables
    and payables among the Debtors are reported as assets on Schedule A/B or liabilities on
    Schedule E/F part 2, as appropriate (collectively, the “Intercompany Claims”).
    Intercompany receivables reported on Schedule A/B 77 and Intercompany claims reported
    on Schedule E/F, part 2, are reported as of August 31, 2019. While the Debtors have used
    commercially reasonable efforts to ensure that the proper intercompany balance is attributed
    to each legal entity, the Debtors and their estates reserve all rights to amend the
    Intercompany Claims in the Schedules and Statements, including, without limitation, to
    change the characterization, classification, categorization or designation of such claims,
    including, but not limited to, the right to assert that any or all Intercompany Claims are, in

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      fact, consolidated or otherwise properly assets or liabilities of a different Debtor entity.
      Although separate Schedules and Statements have been prepared and filed for each of the
      Debtors, certain of the information set forth in the Schedules and Statements has been
      prepared on a consolidated basis. As a result, the Schedules and Statements may not reflect
      all intercompany activity.
 9. Executory Contracts and Unexpired Leases. Although the Debtors made diligent
    attempts to attribute executory contracts and unexpired leases to their rightful Debtors,
    in certain instances, the Debtors may have inadvertently failed to do so due to the
    complexity and size of the Debtors’ businesses.
      Moreover, other than real property leases reported in Schedule A/B 55, the Debtors have
      not necessarily set forth executory contracts and unexpired leases as assets in the Schedules
      and Statements, even though these contracts and leases may have some value to the
      Debtors’ estates. The Debtors’ executory contracts and unexpired leases have been set forth
      in Schedule G.
 10. Materialman’s/Mechanic’s Liens. The assets listed in the Schedules and Statements are
     presented without consideration of any materialman’s or mechanic’s liens.
 11. Classifications. Listing a Claim or contract on (a) Schedule D as “secured,” (b) Schedule
     E/F part 1 as “priority,” (c) Schedule E/F part 2 as “unsecured,” or (d) Schedule G as
     “executory” or “unexpired,” does not constitute an admission by the Debtors of the
     legal rights of the Claimant, or a waiver of the Debtors’ rights to recharacterize or reclassify
     such Claims, or contracts or leases, to file claim objections in respect of same, or to exercise
     their rights to setoff against or other rights with respect to such Claims.
 12. Claims Description. Schedules D and E/F permit each Debtor to designate a Claim
     as “disputed,” “contingent,” and/or “unliquidated.” Any failure to designate a Claim on a
     given Debtor’s Schedules and Statements as “disputed,” “contingent,” or “unliquidated”
     does not constitute an admission by that Debtor that such amount is not “disputed,”
     “contingent,” or “unliquidated,” or that such Claim is not subject to objection. Moreover,
     listing a Claim does not constitute an admission of liability by the Debtors.
 13. Causes of Action. Despite their reasonable efforts to identify all known assets, the Debtors
     may not have listed all of their causes of action or potential causes of action against third-
     parties as assets in the Schedules and Statements, including, without limitation, causes of
     actions arising under the provisions of chapter 5 of the Bankruptcy Code and any other
     relevant non-bankruptcy laws to recover assets or avoid transfers. The Debtors reserve all
     of their rights with respect to any cause of action (including avoidance actions),
     controversy, right of setoff, cross-Claim, counter-Claim, or recoupment and any Claim on
     contracts or for breaches of duties imposed by law or in equity, demand, right, action,
     lien, indemnity, guaranty, suit, obligation, liability, damage, judgment, account, defense,
     power, privilege, license, and franchise of any kind or character whatsoever, known,
     unknown, fixed or contingent, matured or unmatured, suspected or unsuspected,
     liquidated or unliquidated, disputed or undisputed, secured or unsecured, assertable
     directly or derivatively, whether arising before, on, or after the Petition Date, in contract
     or in tort, in law, or in equity, or pursuant to any other theory of law (collectively,
     “Causes of Action”) they may have, and neither these Global Notes nor the Schedules and
     Statements shall be deemed a waiver of any Claims or Causes of Action or in any way

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      prejudice or impair the assertion of such Claims or Causes of Action.
 14. Summary of Significant Reporting Policies. The following is a summary of significant
     reporting policies:
                 a.     Undetermined Amounts. The description of an amount
                        as “unknown,” “TBD” or “undetermined” is not
                        intended to reflect upon the materiality of such amount.

                 b.     Totals. All totals that are included in the Schedules and
                        Statements represent totals of all known amounts. To
                        the extent there are unknown or undetermined amounts,
                        the actual total may be different than the listed total.
                 c.     Liens. Property and equipment listed in the Schedules
                        and Statements are presented without consideration of any
                        liens that may attach (or have attached) to such
                        property and equipment.

 15. Estimates and Assumptions. Because of the timing of the filings, management was
     required to make certain estimates and assumptions that affected the reported amounts
     of these assets and liabilities. Actual amounts could differ from those estimates, perhaps
     materially.
 16. Currency. Unless otherwise indicated, all amounts are reflected in U.S. dollars.
 17. Intercompany. The listing in the Schedules or Statements (including, without limitation,
     Schedule A/B or Schedule E/F) by the Debtors of any obligation between a Debtor
     and another Debtor is a statement of what appears in the Debtors’ books and records and
     does not reflect any admission or conclusion of the Debtors regarding whether such amount
     would be allowed as a Claim or how such obligations may be classified and/or
     characterized in a plan of reorganization or by the Bankruptcy Court.
 18. Setoffs. The Debtors incur certain offsets and other similar rights during the ordinary course
     of business. Offsets in the ordinary course can result from various items, including, without
     limitation, intercompany transactions, pricing discrepancies, returns, refunds, warranties,
     debit memos, credits, and other disputes between the Debtors and their suppliers and/or
     customers. These offsets and other similar rights are consistent with the ordinary course
     of business in the Debtors’ industry and are not tracked separately. Therefore, although
     such offsets and other similar rights may have been accounted for when certain amounts
     were included in the Schedules, offsets are not independently accounted for, and as such,
     are or may be excluded from the Debtors’ Schedules and Statements.
 19. Resident Names and Addresses. Resident and guardian names and addresses have been
     removed from the entries listed on the Schedules and Statements and have been replaced
     with reference to a unique resident number. Such redacted information is available upon
     entry of an order by the Bankruptcy Court authorizing the production of such redacted
     information.
 20. Global Notes Control. If the Schedules and Statements differ from these Global Notes,
     the Global Notes shall control.


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                   Specific Disclosures with Respect to the Debtors’ Schedules
 Schedule A/B. All values set forth in Schedule A/B reflect the book value of the Debtors’ assets
 as of September 10, 2019, unless otherwise noted below. Other than real property leases
 reported on Schedule A/B 55, the Debtors have not included leases and contracts on Schedule
 A/B. Leases and contracts are listed on Schedule G.

          Schedule A/B 3. Cash values held in financial accounts are listed on Schedule A/B 3
          as of September 10, 2019. Details with respect to the Debtors’ cash management
          system and bank accounts are provided in the Debtors’ Emergency Motion for Interim
          and Final Orders (I) Authorizing the Debtors to (A) Continue Using their Cash
          Management System and (B) Maintain Existing Bank Accounts and Business Forms;
          (II) Waiving Certain Deposit Guidelines; and (III) Granting Related Relief [Docket No.
          11] (the “Cash Management Motion”).
          Schedule A/B 11. Accounts receivable do not include intercompany receivables.
          Intercompany receivables are reported on Schedule A/B 77.
          Schedule A/B 15. Ownership interests in subsidiaries have been listed in Schedules
          A/B 15 as an undetermined amount because the fair market value of such ownership
          is dependent on numerous variables and factors and likely differs significantly from
          their net book value.
          Schedule A/B 55. The Debtors do not own any real property. The Debtors have also
          listed their real property leases in Schedule A/B 55, along with the Debtors leasehold
          improvements, if any.
          Schedule A/B 63. The Debtors maintain a resident database/list. The amount is listed
          as undetermined because the fair market value of such ownership cannot be
          determined.
          Schedule A/B 74 & 75. In the ordinary course of their businesses, the Debtors may have
          accrued, or may subsequently accrue, certain rights to counter-Claims, setoffs, refunds,
          or warranty Claims. Additionally, certain of the Debtors may be a party to pending
          litigation in which the Debtors have asserted, or may assert, Claims as a plaintiff or
          counter-Claims as a defendant. Because such Claims are unknown to the Debtors and
          not quantifiable as of the Petition Date, they are not listed on Schedule A/B 74 or 75.
          The Debtors’ failure to list any contingent and/or unliquidated claim held by the
          Debtors in response to these questions shall not constitute a waiver, release,
          relinquishment, or forfeiture of such claim.
 Schedule D. The Claims listed on Schedule D arose or were incurred on various dates;
 a determination of the date upon which each Claim arose or was incurred would be
 unduly burdensome and cost prohibitive. Accordingly, not all such dates are included. All
 Claims listed on Schedule D, however, appear to have been incurred before the Petition Date.
 Reference to the applicable loan agreements and related documents is necessary for a complete
 description of the collateral and the nature, extent, and priority of liens. Nothing in the
 Global Notes or the Schedules and Statements shall be deemed a modification or
 interpretation of the terms of such agreements. Except as specifically stated on Schedule D,

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 real property lessors, utility companies, and other parties that may hold security deposits
 have not been listed on Schedule D. Nothing herein shall be construed as an admission by the
 Debtors of the legal rights of the Claimant or a waiver of the Debtors’ rights to recharacterize
 or reclassify such Claim or contract, including by filing a claim objection or adversary
 proceeding in respect of same.
 Moreover, the Debtors have not included on Schedule D parties that may believe their Claims
 are secured through setoff rights, letters of credit, surety bonds, or inchoate statutory lien rights.
 Schedule E/F part 2. The Debtors have used reasonable efforts to report all general unsecured
 Claims against the Debtors on Schedule E/F part 2, based upon the Debtors’ books and records
 as of the Petition Date.
 Determining the date upon which each Claim on Schedule E/F part 2 was incurred or arose
 would be unduly burdensome and cost prohibitive and, therefore, the Debtors do not list a
 date for each Claim listed on Schedule E/F part 2. Furthermore, claims listed on Schedule E/F
 part 2 may have been aggregated by unique creditor name and remit to address and may include
 several dates of incurrence for the aggregate balance listed.
 Schedule E/F part 2 contains information regarding pending litigation involving the Debtors.
 The dollar amount of potential Claims associated with any such pending litigation is listed as
 “undetermined” and marked as contingent, unliquidated, and disputed in the Schedules
 and Statements. Some of the litigation Claims listed on Schedule E/F may be subject to
 subordination pursuant to section 510 of the Bankruptcy Code. Schedule E/F part 2 may also
 include potential or threatened litigation claims. Any information contained in Schedule E/F
 part 2 with respect to such potential litigation shall not be a binding representation of the
 Debtors’ liabilities with respect to any of the potential suits and proceedings included therein.
 The Debtors expressly incorporate by reference into Schedule E/F part 2 all parties to pending
 litigation listed in the Debtors’ Statements 7, as contingent, unliquidated, and disputed claims,
 to the extent not already listed on Schedule E/F part 2.
 Schedule E/F part 2 reflects the prepetition amounts owing to counterparties to executory
 contracts and unexpired leases.     Such prepetition amounts, however, may be paid in
 connection with the assumption, or assumption and assignment, of executory contracts or
 unexpired leases. Additionally, Schedule E/F part 2 does not include potential rejection
 damage Claims, if any, of the counterparties to executory contracts and unexpired leases that
 may be rejected.
 Schedule G. Certain information, such as the contact information of the counter-party, may
 not be included where such information could not be obtained using the Debtors’ reasonable
 efforts. Listing or omitting a contract or agreement on Schedule G does not constitute an
 admission that such contract or agreement is or is not an executory contract or unexpired lease,
 was in effect on the Petition Date, or is valid or enforceable. Certain of the leases and contracts
 listed on Schedule G may contain certain renewal options, guarantees of payment,
 indemnifications, options to purchase, rights of first refusal, and other miscellaneous rights.
 Such rights, powers, duties, and obligations are not set forth separately on Schedule G.
 Certain confidentiality and non-disclosure agreements may not be listed on Schedule
 G.



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 Certain of the contracts and agreements listed on Schedule G may consist of several parts,
 including, purchase orders, amendments, restatements, waivers, letters, and other documents
 that may not be listed on Schedule G or that may be listed as a single entry. In some cases, the
 same supplier or provider may appear multiple times on Schedule G. This multiple listing is
 intended to reflect distinct agreements between the applicable Debtor and such supplier or
 provider. The Debtors expressly reserve their rights to challenge whether such related
 materials constitute an executory contract, a single contract or agreement, or multiple, severable
 or separate contracts.
 The contracts, agreements, and leases listed on Schedule G may have expired, have been
 terminated or may have been modified, amended, or supplemented from time to time by
 various amendments, restatements, waivers, estoppel certificates, letters, memoranda and
 other documents, instruments, and agreements that may not be listed therein despite the
 Debtors’ use of reasonable efforts to identify such documents. Further, unless otherwise
 specified on Schedule G, each executory contract or unexpired lease listed thereon shall
 include all exhibits, schedules, riders, modifications, declarations, amendments, supplements,
 attachments, restatements, or other agreements made directly or indirectly by any agreement,
 instrument, or other document that in any manner affects such executory contract or unexpired
 lease, without respect to whether such agreement, instrument, or other document is listed
 thereon.
 In addition, the Debtors may have entered into various other types of agreements in the ordinary
 course of their businesses, such as subordination, nondisturbance, and attornment agreements,
 supplemental agreements, settlement agreements, amendments/letter agreements, title
 agreements and confidentiality agreements. Such documents may not be set forth on Schedule
 G. Certain of the executory agreements may not have been memorialized and could be subject
 to dispute. Executory agreements that are oral in nature have not been included on the Schedule
 G.
 Schedule H. For purposes of Schedule H, the Debtors that are either the principal obligors
 or guarantors under the prepetition debt facilities are listed as Co-Debtors on Schedule H.
 The Debtors may not have identified certain guarantees associated with the Debtors’ executory
 contracts, unexpired leases, secured financings, debt instruments, and other such agreements.
 In the ordinary course of their businesses, the Debtors may be involved in pending or threatened
 litigation. These matters may involve multiple plaintiffs and defendants, some or all of whom
 may assert cross-Claims and counter-Claims against other parties. Because the Debtors have
 treated all such Claims as contingent, disputed, or unliquidated, such Claims have not been
 set forth individually on Schedule H. Litigation matters can be found on each Debtor’s
 Schedule E/F part 2 and Statement 7, as applicable.
                  Specific Disclosures with Respect to the Debtors’ Statements
 Statement 3. Statement 3 includes any disbursement or other transfer made by the Debtors
 within 90 days before the Petition Date except for those made to insiders (which payments
 appear in response to Statement question 4), employees, and bankruptcy professionals (which
 payments appear in Statement 11 and include any retainers paid to bankruptcy professionals).
 The amounts listed in Statement 3 reflect the Debtors’ disbursements netted against any check
 level detail; thus, to the extent a disbursement was made to pay for multiple invoices, only
 one entry has been listed on Statement 3.

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 Statement 4. Statement 4 accounts for a respective Debtor’s intercompany transactions, as
 well as other transfers to insiders as applicable. With respect to individuals, the amounts listed
 reflect the universe of payments and transfers to such individuals including compensation,
 bonus (if any), expense reimbursement, relocation reimbursement, and/or severance.
 Amounts paid on behalf of such employee for certain life and disability coverage, which
 coverage is provided to all of the Debtors’ employees, has not been included.
 Statement 5.    Statement 5 excludes goods returned in the ordinary course of
 business.
 Statement 7. Any information contained in Statement 7 shall not be a binding representation
 of the Debtors’ liabilities with respect to any of the suits and proceedings identified therein.
 Statement 10. The Debtors occasionally incur losses for a variety of reasons, including theft
 and property damage. The Debtors, however, may not have records of all such losses if
 such losses do not have a material impact on the Debtors’ businesses or are not reported for
 insurance purposes.
 Statement 11. Out of an abundance of caution, the Debtors have included payments to all
 professionals who have rendered any advice related the Debtors’ bankruptcy proceedings
 in Statement 11. However, it is possible that the disclosed fees also relate to other, non-
 bankruptcy related services, and may include services rendered to other parties.
 Statement 26d. The Debtors have provided financial statements in the ordinary course of their
 businesses to numerous financial institutions, creditors, and other parties within two years
 immediately before the Petition Date. Considering the number of such recipients and the
 possibility that such information may have been shared with parties without the Debtors’
 knowledge or consent or subject to confidentiality agreements, the Debtors have not disclosed
 any parties that may have received such financial statements for the purposes of Statement
 26d.
 Statement 30. Unless otherwise indicated in a Debtor’s specific response to Statement 30,
 the Debtors have included a comprehensive response to Statement 30 in Statement 4.




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 Fill in this information to identify the case:

 Debtor name            Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:                       EASTERN DISTRICT OF NEW YORK

 Case number (if known)               19-76263
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $        2,538,672.72

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $        2,538,672.72


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        5,298,124.56


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           274,260.87

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           284,307.15


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           5,856,692.58




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         19-76263
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest
 2.        Cash on hand                                                                                                                                $200.00



 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     CFG Depository Accounts                                 Gov't - Checking                1753                                             $0.00




           3.2.     CFG Depository Accounts                                 Non-Gov't - Checking            1761                                             $0.00



                                                                            Depository - Corporate
           3.3.     M&T Bank                                                Checking                        5327                                             $0.00



                                                                            Dep E-state - Business
           3.4.     Community Bank, N. A                                    Savings                         1634                                       $479.57



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                        $679.57
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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 Debtor           Absolut Center for Nursing and Rehabilitation at                                Case number (If known) 19-76263
                  Allegany, LLC
                  Name


        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     292 N Fifth Street, LLC - Security Deposit with Landlord                                                                  $38,129.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment


 9.        Total of Part 2.                                                                                                               $38,129.00
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable


           11b. Over 90 days old:                               412,655.97   -                          274,760.10 =....                     $137,895.87
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                              $137,895.87
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of         Valuation method used    Current value of
                                                      physical inventory         debtor's interest         for current value        debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Food                                       8/31/19                              $5,759.20       Recent cost                          $5,759.20




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                       page 2
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 Debtor         Absolut Center for Nursing and Rehabilitation at                              Case number (If known) 19-76263
                Allegany, LLC
                Name


 23.       Total of Part 5.                                                                                                             $5,759.20
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value            Unknown Valuation method              Book               Current Value                   Unknown

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used     Current value of
                                                                              debtor's interest       for current value         debtor's interest
                                                                              (Where available)

 39.       Office furniture
           See Schedule A/B: Part 7, Questions 39-45
           Attachment                                                                $189,834.86      Book                               $189,834.86



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                             $189,834.86
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 3
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 Debtor         Absolut Center for Nursing and Rehabilitation at                              Case number (If known) 19-76263
                Allegany, LLC
                Name


        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of       Valuation method used      Current value of
           Include year, make, model, and identification numbers              debtor's interest       for current value          debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2008/Chevy/Uplander                                                $2,000.00     Book                                   $2,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)

 51.       Total of Part 8.                                                                                                              $2,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of       Valuation method used     Current value of
           property                                       extent of           debtor's interest       for current value         debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.
                     2178 N. Fifth Street,
                     Allegany, New York                   Leasehold                    Unknown                                               Unknown




 56.       Total of Part 9.                                                                                                                     $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

 57.       Is a depreciation schedule available for any of the property listed in Part 9?
               No

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 4
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 Debtor         Absolut Center for Nursing and Rehabilitation at                              Case number (If known) 19-76263
                Allegany, LLC
                Name


               Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
               No
               Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used      Current value of
                                                                              debtor's interest      for current value          debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites

 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
            Patient List                                                               Unknown       Book                                   Unknown



 64.        Other intangibles, or intellectual property

 65.        Goodwill
            Goodwill                                                                   Unknown       Book                                   Unknown



 66.        Total of Part 10.                                                                                                                  $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
              No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                                Current value of
                                                                                                                                debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 5
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 Debtor         Absolut Center for Nursing and Rehabilitation at                             Case number (If known) 19-76263
                Allegany, LLC
                Name



 72.       Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

 73.       Interests in insurance policies or annuities

 74.       Causes of action against third parties (whether or not a lawsuit
           has been filed)
           Insurance ( 4 Resident Claims) Denials/Appeals
           Private Pay (12 Resident Claims) Attorney
           Referrals/Negotiations with Families/Collection Agency                                                                  $204,724.73
           Nature of claim         See Attached Schedule A/B,
                                   Q74
           Amount requested                      $204,724.73



           292 N Fifth Street, LLC and its affiliates                                                                                 Unknown
           Nature of claim          Causes of action including
                                    breach of contract and tort
                                    claims
           Amount requested                             $0.00



 75.       Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

           NYS Dept of Health                                                                                                           $120.00
           Nature of claim                     Staff training expense
                                               reimbursement
           Amount requested                                       $120.00



 76.       Trusts, equitable or future interests in property

 77.       Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Humboldt House Nursing and Rehab - Related Party
           Claim                                                                                                                        $753.55



           Absolut Facilities Mgt, LLC - Intercompany Claim                                                                     $1,958,775.94




 78.       Total of Part 11.                                                                                                   $2,164,374.22
           Add lines 71 through 77. Copy the total to line 90.

 79.       Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                             page 6
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 Debtor          Absolut Center for Nursing and Rehabilitation at                                                    Case number (If known) 19-76263
                 Allegany, LLC
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $679.57

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $38,129.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $137,895.87

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $5,759.20

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                        $189,834.86

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                        $2,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +              $2,164,374.22

 91. Total. Add lines 80 through 90 for each column                                                         $2,538,672.72            + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $2,538,672.72




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                           page 7
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                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

    General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                  Collectibles)                 Debtor's Interest       for Current Value        Debtor's Interest
(1) wound surf alt pres matt                               $663.76            Book                         $663.76
(12) Mattresses                                          $1,100.04            Book                       $1,100.04
(15) Body/Leg Slings                                       $114.61            Book                         $114.61
(2) 5LPM Oxygen Concentrators                              $187.13            Book                         $187.13
(2) Mattresses                                             $118.88            Book                         $118.88
(2) mattresses                                             $198.61            Book                         $198.61
(2) Rexx Elec Low beds w/HB,FB                           $1,391.49            Book                       $1,391.49
(2) Rexx Electric Beds                                   $1,312.20            Book                       $1,312.20
(2) Tracer IV Wheelchairs                                    $0.00            Book                            $0.00
(2) Wound Surf Alt Pres Matt                             $1,313.92            Book                       $1,313.92
(2)Deluxe 3 position recliners                              $33.15            Book                          $33.15
(2)Genius 2 Tympanic Ear Therm                             $324.00            Book                         $324.00
(2)Reliant Lifts/(1) Dgt Scale                           $2,043.04            Book                       $2,043.04
(2)Rexx Electric Beds w/HB &FB                           $1,410.66            Book                       $1,410.66
(3) 5LPM Concentrators                                     $280.69            Book                         $280.69
(3) Acer C910 ChromebookS                                    $0.00            Book                            $0.00
(3) Dlx 3-Position Recliners                               $561.91            Book                         $561.91
(4) ResponsLink Base/Pendnts                                $74.52            Book                          $74.52
(4)18" Chrome Sport Wheelchair                               $0.00            Book                            $0.00
(4)Cushioned Floor Pad w/alarm                               $0.00            Book                            $0.00
(5) Mattresses                                           $1,183.20            Book                       $1,183.20
(6) Roho Cushions                                            $0.00            Book                            $0.00
(7) Fallshield Floor Mats                                   $57.56            Book                          $57.56
1 Low Air Loss Mattresses                                    $0.00            Book                            $0.00
1 mattresses-RI                                              $0.00            Book                            $0.00
1/5-Repl Tayco Pump Motor                                $1,269.57            Book                       $1,269.57
10Ltr Integra Concentrator                                   $0.00            Book                            $0.00
2 Concentrators                                              $0.00            Book                            $0.00
2 Rexx Elect Beds w/Hd &Ft Bds                           $1,226.68            Book                       $1,226.68
2 Rexx Elect Beds w/Hd &Ft Bds                           $1,236.03            Book                       $1,236.03


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                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

   General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                  Collectibles)                 Debtor's Interest       for Current Value        Debtor's Interest
2 Rexx Elect Beds w/Hd &Ft Bds                           $1,236.46            Book                       $1,236.46
2 Vibrance Dlx Vacuums                                       $0.00            Book                            $0.00
20.6 CF Kitchen Fridge                                     $287.28            Book                         $287.28
20.6cf Refrigerator                                         $40.45            Book                          $40.45
24" Landing Strip Floor Mat                                $360.69            Book                         $360.69
3.3cf Top Load Washer                                      $154.70            Book                         $154.70
5hp Cast Iron Circulator Pump                              $200.04            Book                         $200.04
Abulatory O2 Sys/Hmdfr AdptKit                           $1,823.56            Book                       $1,823.56
ACER CHROMEBOOKS & SOFTWARE
LICENSES                                                 $199.37               Book                       $199.37
Air Condition - Electrical                             $14,816.33              Book                     $14,816.33
Alternating Pressure Mattress                            $652.19               Book                       $652.19
Alternating Pressure Mattress                            $775.08               Book                       $775.08
Alternating Pressure Mattress                            $791.14               Book                       $791.14
Backflow Preventer                                      $5,703.75              Book                      $5,703.75
Bed/Chair Alarms                                            $0.00              Book                          $0.00
Bed/Chair Sensor Pads/Clips                                 $0.00              Book                          $0.00
Bedreeom Station                                         $397.93               Book                       $397.93
Bi-Fold Fallsheild floor mat                             $365.34               Book                       $365.34
Bi-Fold Fallsheild floor mat                             $366.24               Book                       $366.24
BOILER                                                  $8,595.28              Book                      $8,595.28
Boiler rm ext door                                      $1,625.96              Book                      $1,625.96
Camera System/HDD/4pk cameras/100'
cable                                                     $376.27              Book                           $376.27
Circulating Pump                                           $95.58              Book                            $95.58
Concentrators                                               $0.00              Book                             $0.00
Concentrators (2)                                         $623.20              Book                           $623.20
Crash Rail Covers/End caps                                $976.49              Book                           $976.49
Cuber and Bins                                              $0.00              Book                             $0.00
Dishmachine Motor                                           $0.00              Book                             $0.00


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                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

   General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                  Collectibles)                 Debtor's Interest       for Current Value        Debtor's Interest
Disposer                                                   $431.80            Book                         $431.80
Distribution Cart                                          $286.28            Book                         $286.28
DOOR LEVERS                                              $1,483.22            Book                       $1,483.22
Dryer                                                        $0.00            Book                            $0.00
Ductal work                                                $685.85            Book                         $685.85
Duty Station/Alarm                                         $527.56            Book                         $527.56
Dyson vacuum                                                 $0.00            Book                            $0.00
Electric Bed & Lifts                                         $0.00            Book                            $0.00
Electric Low Bed                                           $829.11            Book                         $829.11
Electric Low Bed w/HB-FB                                   $837.41            Book                         $837.41
Electric Low Bed w/HB-FB                                   $838.86            Book                         $838.86
Electric Low Bed w/HB-FB                                   $933.66            Book                         $933.66
Electric Low Bed w/HB-FB                                 $1,010.43            Book                       $1,010.43
Electronic Push Button Safe                                $362.35            Book                         $362.35
Facility Sign                                                $0.00            Book                            $0.00
Firewatch 411 Dialer                                         $0.00            Book                            $0.00
Floor Burnisher                                              $0.00            Book                            $0.00
Floor Mats                                                  $52.60            Book                          $52.60
Flooring                                                 $7,637.13            Book                       $7,637.13
Folding Platform WC Scales                                   $0.00            Book                            $0.00
Full Body Slings                                             $0.00            Book                            $0.00
Head & Foot Board-Rexx Bed                                 $101.25            Book                         $101.25
Heat Pump                                                  $782.66            Book                         $782.66
Hi Powered Blender                                         $271.15            Book                         $271.15
Hobart Disposal & Installation                               $0.00            Book                            $0.00
Hot Water Circulator                                         $0.00            Book                            $0.00
HP Laserjet Printer                                          $0.00            Book                            $0.00
HP ProBook/Web Camera/Lock                                   $0.00            Book                            $0.00
HP Thin Client                                               $0.00            Book                            $0.00
HP Thin Client                                               $0.00            Book                            $0.00


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           Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

   General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                   Collectibles)                Debtor's Interest       for Current Value        Debtor's Interest
Ice Maker - RI                                           $2,581.10            Book                       $2,581.10
Inst Fixtures &Nrs Stn Circuit                             $301.94            Book                         $301.94
Inst New Flashing @ Firewalls                              $297.00            Book                         $297.00
Inst PVC drain line/trap/vent                              $367.50            Book                         $367.50
Inst Rem Annunciator/Bat Chrg (Lawn
Mower repair)                                           $1,767.39              Book                      $1,767.39
Inst Reznor Make-Up Air Unit                            $9,379.33              Book                      $9,379.33
Instal New Pull Stations                                 $213.27               Book                       $213.27
Install 2 HVAC Zone Valves                               $272.91               Book                       $272.91
Install 2 Ramps, Add Concrete                               $0.00              Book                          $0.00
Install 20-amp Circuit                                   $392.93               Book                       $392.93
Install Boiler                                          $1,401.96              Book                      $1,401.96
Install CableRun-Cat5e Cabling                           $395.07               Book                       $395.07
Install Circulating Pump                                    $0.00              Book                          $0.00
Install Flag Pole                                        $341.55               Book                       $341.55
Install HVAC Zone Valve                                  $176.86               Book                       $176.86
Install New 81-gal Water Tank                           $5,875.58              Book                      $5,875.58
Install New Carpet/Covebase                             $3,997.50              Book                      $3,997.50
Install new Circuit-Dishwasher                           $486.00               Book                       $486.00
Install New Condensing Unit                             $1,773.24              Book                      $1,773.24
Install new condensing units                            $6,889.05              Book                      $6,889.05
Install New Control Board                                $167.66               Book                       $167.66
Install New Dryer                                        $343.71               Book                       $343.71
Install outlets                                          $696.38               Book                       $696.38
Install outlts in 2 rooms                                $421.74               Book                       $421.74
Install Steel Door                                       $960.91               Book                       $960.91
Install Steel Door & Frame                              $1,202.14              Book                      $1,202.14
Install Underground Lines                               $1,128.34              Book                      $1,128.34
Install Zone Valves/Shut-offs                            $106.20               Book                       $106.20
INSULATE HEATING LINES                                      $0.00              Book                          $0.00


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           Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

    General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                 Collectibles)                  Debtor's Interest       for Current Value        Debtor's Interest
Invacare Extra Wide Recliner                                 $0.00            Book                            $0.00
Invacare Wheelchair                                        $623.59            Book                         $623.59
IPad Air 2 w/Mgt Suite-Soc Wkr                               $0.00            Book                            $0.00
Kitchen Aide Mixer, utensils                                 $0.00            Book                            $0.00
Kitchen Hood System Upgrade                                $785.12            Book                         $785.12
Label Printer/Heat Press                                   $661.57            Book                         $661.57
Landing Strip Floor Mats                                    $50.78            Book                          $50.78
Landing Strip Floor Mats                                    $64.17            Book                          $64.17
Landing Strip Floor Mats                                    $84.27            Book                          $84.27
Landing Strips                                               $0.00            Book                            $0.00
LED Monitor-Inlighten                                       $68.10            Book                          $68.10
Lift Actuator/Motor/Mast                                     $0.00            Book                            $0.00
Low air mattress system                                      $0.00            Book                            $0.00
Low Airloss mattress                                         $0.00            Book                            $0.00
Low Airloss Mattress System                                  $0.00            Book                            $0.00
Magnetic Door Holder-Kitchen                                $60.76            Book                          $60.76
Mattress                                                   $713.01            Book                         $713.01
Mattress                                                   $764.15            Book                         $764.15
Mattress                                                   $882.62            Book                         $882.62
Mattress, Long - 799                                         $0.00            Book                            $0.00
Matts                                                      $495.78            Book                         $495.78
Maxilift Actuator/Motor                                      $0.00            Book                            $0.00
Meat Slicer                                                  $0.00            Book                            $0.00
Mini Condensate Pumps                                       $77.27            Book                          $77.27
NCS Master Console/Pt Stations                             $217.53            Book                         $217.53
Negative Pressure Wound Vac                              $1,471.20            Book                       $1,471.20
New Floor Machine                                          $194.37            Book                         $194.37
New Lockset on Basement Door                               $373.32            Book                         $373.32
New signs                                                $1,121.47            Book                       $1,121.47
Nintendo Wii Game System                                     $0.00            Book                            $0.00


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           Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

   General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                  Collectibles)                 Debtor's Interest       for Current Value        Debtor's Interest
Nintendo Wii Game System                                     $0.00            Book                            $0.00
NURSE CALL BELL SYSTEM                                       $0.00            Book                            $0.00
O2 Cabinet                                                 $231.02            Book                         $231.02
Office ID signs w/Braille                                   $44.82            Book                          $44.82
Oxygen Concenrator                                           $0.00            Book                            $0.00
Oxygen Concentrator                                          $0.00            Book                            $0.00
Oxygen Concentrator-10 liter                               $679.17            Book                         $679.17
PATCH, SEAL & STRIPE LOT                                     $0.00            Book                            $0.00
Patio Awning                                               $943.49            Book                         $943.49
PCC Software                                             $1,465.83            Book                       $1,465.83
Pictures for Walls                                           $0.00            Book                            $0.00
Plumbing Pipes                                               $0.00            Book                            $0.00
Pocket Pagers (3)                                           $64.01            Book                          $64.01
Power Mixing Valve                                         $301.64            Book                         $301.64
Power Patient Lift                                           $0.00            Book                            $0.00
Pressure Mattress                                          $424.30            Book                         $424.30
Printer                                                      $0.00            Book                            $0.00
Pymnt 3/3 blacktop parking lot                               $0.00            Book                            $0.00
Reach In Freezer                                         $1,870.09            Book                       $1,870.09
Recumbent Stepper                                        $2,506.68            Book                       $2,506.68
Refrigerator                                                $28.51            Book                          $28.51
Refrigerator Shelves                                         $0.00            Book                            $0.00
Reliant Elec. Stand-Up Lift                              $1,626.34            Book                       $1,626.34
Reliant Power Stand-up Lift                              $1,188.78            Book                       $1,188.78
Repair & Seal Parking Lot                                    $0.00            Book                            $0.00
Repl Boiler Gas Valve/Burner                                 $0.00            Book                            $0.00
Replace Bad Compressor                                   $1,285.61            Book                       $1,285.61
Replace Shower Tile, Floor                               $1,491.75            Book                       $1,491.75
Replace Sidewalk                                         $3,790.80            Book                       $3,790.80
Replaced Motor on MAU                                      $843.34            Book                         $843.34


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           Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

   General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment,   Net Book Value of    Valuation Method Used       Current Value of
                  Collectibles)                 Debtor's Interest       for Current Value        Debtor's Interest
Repoint & Caulk Exterior Mason                               $0.00            Book                            $0.00
Rexx Elec. Bed w/head & ft. bd                           $1,412.77            Book                       $1,412.77
Rexx Elec.Bed w/hd & ft bds                                $731.42            Book                         $731.42
Rexx Elec.Bed w/hd & ft bds                                $835.25            Book                         $835.25
Rexx Elec.Bed w/hd & ft bds                              $1,419.52            Book                       $1,419.52
Rexx Elec.Bed w/hd & ft boards                           $1,419.52            Book                       $1,419.52
Rexx Electric Bed                                        $1,406.02            Book                       $1,406.02
Rexx Electric Bed w/Hd&Ft bds                              $523.22            Book                         $523.22
Rexx Electric Bed w/Hd&Ft bds                              $523.74            Book                         $523.74
Rexx Electric Low bed/HDFTBoar                             $831.80            Book                         $831.80
Riccar Vibrance Vacumm                                     $169.92            Book                         $169.92
Rpl all 2nd flr Duct Board                               $5,135.00            Book                       $5,135.00
Rpl Generator Controller Light                             $399.97            Book                         $399.97
Rplcd-Dielectric Boilers                                   $986.29            Book                         $986.29
Run New Outlet Circuit                                     $429.46            Book                         $429.46
Sandblasted Signs                                            $0.00            Book                            $0.00
Seamless Gutters & Downspouts                              $642.60            Book                         $642.60
Security Camera                                              $0.00            Book                            $0.00
Security Camera/DVR/Monitor                                  $0.00            Book                            $0.00
Sharp 42" LCD TV, Mount                                      $0.00            Book                            $0.00
Shower Chair                                                 $0.00            Book                            $0.00
Single Bed Station/Transmitter                             $338.92            Book                         $338.92
SINK LEVERS & TRAPS                                        $329.33            Book                         $329.33
Snow Blower                                                $453.59            Book                         $453.59
Sprinkler System                                       $18,323.06             Book                     $18,323.06
Standing Assist Slings                                     $111.46            Book                         $111.46
Storeroom locksets                                          $59.36            Book                          $59.36
Svc Call - Exhaust/Fire Damper                             $644.50            Book                         $644.50
Terminal/Monitor-Maint/Hskpg                               $188.32            Book                         $188.32
Thermometer Electric Genius                                  $0.00            Book                            $0.00


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           Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                               Case No. 19-76263
        Schedule A/B: Part 7, Questions 39-45 - Office furniture, fixtures, and equipment; and collectibles

    General Description of Property (Office
 Furniture, Office Fixtures, Office Equpment, Net Book Value of      Valuation Method Used       Current Value of
                 Collectibles)                 Debtor's Interest        for Current Value        Debtor's Interest
Tile/Glue/Covebase                                          $0.00             Book                            $0.00
Town Square Menu Display-Col                                $0.00             Book                            $0.00
Tracer SX5 Wheelchair                                       $0.00             Book                            $0.00
TracerSX Reclining Wheelchairs                              $0.00             Book                            $0.00
Tractor                                                 $2,153.58             Book                       $2,153.58
Tractor and bagger                                        $879.65             Book                         $879.65
Trapeze Bracket for Bed                                   $566.86             Book                         $566.86
Tub Lift                                                    $0.00             Book                            $0.00
Unimac Washer                                           $2,138.38             Book                       $2,138.38
Vinyl Chairs                                                $0.00             Book                            $0.00
Water Meter                                             $1,097.68             Book                       $1,097.68
Website design                                              $0.00             Book                            $0.00
Wheelchair                                                $465.58             Book                         $465.58
Wheelchair Platform Scale                                 $766.91             Book                         $766.91
Wheelchair Scale                                          $781.13             Book                         $781.13
Window A/C Unit                                            $70.64             Book                          $70.64
Wyse V30, 17" LCD Monitor                                   $0.00             Book                            $0.00
Xtra wide 3 pos recliner                                  $530.60             Book                         $530.60
                                        Total:      $189,834.86                                       $189,834.86




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                                   Case 8-19-76260-ast          Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41
                                                In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                         Case No. 19-76263
                                             Schedule A/B: Part 11, Question 74 - Causes of action against third parties

 Patient Number                                      Nature of Claim                                     Amount requested     Current Value of Debtor's Interest
PATIENT 2730      Insurance: Denial/Appeal, Nascentia                                                             $2,187.48                             $2,187.48
PATIENT 5192      Insurance: Denial/Appeal, Fidelis                                                               $3,740.68                             $3,740.68
PATIENT 2769      Insurance: Denial/Appeal, Nascentia                                                              $869.00                                $869.00
PATIENT 2826      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                       $1,023.00                             $1,023.00
PATIENT 2834      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                       $4,330.75                             $4,330.75
PATIENT 2837      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $52,434.00                             $52,434.00
PATIENT 5212      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $35,914.91                             $35,914.91
PATIENT 2851      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                        $320.00                                $320.00
PATIENT 4934      Insurance: Denial/Appeal, Humana                                                                $5,021.56                             $5,021.56
PATIENT 1195      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $23,192.37                             $23,192.37
PATIENT 2862      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                       $3,732.80                             $3,732.80
PATIENT 2971      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $14,471.94                             $14,471.94
PATIENT 5707      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $15,900.00                             $15,900.00
PATIENT 5708      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                     $30,751.51                             $30,751.51
PATIENT 5709      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                       $5,924.50                             $5,924.50
PATIENT 5710      Self Pay, Attorney Referrals/Negotiations with Families/Collection Agency                       $4,910.23                             $4,910.23
                                                                                                        Total:                                       $204,724.73




                                                                               1 of 1
                       Case 8-19-76260-ast                       Doc 154           Filed 10/16/19             Entered 10/16/19 09:23:41


 Fill in this information to identify the case:

 Debtor name          Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)              19-76263
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
          No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
          Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
 2.1    See D: Part 1 Attachment                      Describe debtor's property that is subject to a lien               $5,298,124.56                  Unknown
        Creditor's Name




        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                         No
        Creditor's email address, if known                Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                           No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
            No                                           Contingent
            Yes. Specify each creditor,                  Unliquidated
        including this creditor and its relative         Disputed
        priority.



                                                                                                                         $5,298,124.56
 3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.


 Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity




Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 1
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                                                                 Case 8-19-76260-ast       Doc 154      Filed 10/16/19                              Entered 10/16/19 09:23:41

                                                                            In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                     Case No. 19-76263
                                                                           Schedule D: Part 1 - Creditors Who Have Claims Secured by Property




                                                                                                                        Insider or Related Party?




                                                                                                                                                                                                                     Unliquidated
                                                                                                                                                                                                        Contingent
                                                                                                                                                    CoDebtor
                                                                                                                                                               Date Debt was Incurred, Description of                                           Amount of Claim (Do




                                                                                                                                                                                                                                    Disputed
                                                                                                     Last 4 Digits of                                           Debtor's Property Subject to the Lien                                          not deduct the value of Value of Collateral that
                   Creditor Name and Mailing Address                            Email               Account Number                                                     and the Nature of Lien                                                       the collateral)     Supports this Claim
CAPITAL FINANCE LLC
ATTN: CHIP WOELPER
1422 CLARKVIEW ROAD                                                                                                                                               Various, Line of Credit Accounts
BALTIMORE MD 21209                                                    cwoelper@capfundinc.com             0003                                                               Receivable                  X             X                                $4,951,478.58                  Unknown
CAPITAL FUNDING GROUP, INC. AND ITS SUCCESSORS AND ASSIGNS; SECRETARY
OF HOUSING AND URBAN DEVELOPMENT
1422 CLARKVIEW ROAD
BALTIMORE MD 21209                                                                                                                                                          5/28/2009                    X             X             X                      Unknown                    Unknown
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
NEW YORK DISTRICT OFFICE
33 WHITEHALL STREET
5TH FLOOR
NEW YORK NY 10004                                                                                                                                                           10/19/2018                   X             X             X                      Unknown                    Unknown
MARQUETTE EQUIPMENT FINANCE, LLC
6975 UNION PARK CENTER, 2ND FLOOR
MIDVALE UT 84047                                                                                                                                                            2/16/2016                    X             X                                    Unknown                    Unknown
REBECCA DANSER
C/O CAMPBELL & SHELTON LLP
ATTN: ERIC M. SHELTON
8274 NORTH MAIN STREET
EDEN NY 14057                                                                                                                                                               6/12/2015                    X             X             X                      Unknown                    Unknown
SECRETARY OF HOUSING AND URBAN DEVELOPMENT
465 MAIN STREET
BUFFALO NY 14203-1780                                                                                                                                                       5/28/2009                    X             X                                    Unknown                    Unknown
SPECIALTY RX
ATTN: SHIMON ROSENBERG
2 BERGEN TURNPIKE
RIDGEFIELD PARK NJ 07660                                              srosenberg@srxltc.com                                                                                  Monthly                     X             X             X                   $173,322.99                   Unknown
SPECIALTY RX INC.
209 EAST 11TH STREET
ROSELLE NJ 07203                                                                                                                                                       6/17/2019; All assets             X             X             X                      Unknown                    Unknown
TCF EQUIPMENT FINANCE, INC.
11100 WAYZATA BOULEVARD, SUITE 801
MINNETONKA MN 55305                                                                                                                                                         2/10/2012                    X             X                                    Unknown                    Unknown
THE ARBA GROUP, INC.
ATTN: SCOTT KRIEGER
6304 WILSHIRE BLVD, SUITE 1800
LOS ANGELES CA 90052                                                  Scott@thearbagroup.com                                                                                 Monthly                     X             X X                                $173,322.99                 Unknown
                                                                                                                                                                                                                        Total:                          $5,298,124.56                 Unknown




                                                                                                          1 of 1
                     Case 8-19-76260-ast                         Doc 154               Filed 10/16/19                   Entered 10/16/19 09:23:41


 Fill in this information to identify the case:

 Debtor name         Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)           19-76263
                                                                                                                                                            Check if this is an
                                                                                                                                                            amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                           12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                              Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $274,260.87          $274,260.87
           See EF: Part 1 Attachment                                 Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                 $284,307.15
           See EF: Part 2 Attachment                                                   Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number                                         Basis for the claim:

                                                                                   Is the claim subject to offset?           No   Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                          On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                             related creditor (if any) listed?                  account number, if
                                                                                                                                                                any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Official Form 206E/F                                 Schedule E/F: Creditors Who Have Unsecured Claims                                                                       page 1 of 2
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                     Case 8-19-76260-ast                         Doc 154        Filed 10/16/19            Entered 10/16/19 09:23:41


              Absolut Center for Nursing and Rehabilitation at
 Debtor       Allegany, LLC                                                                       Case number (if known)       19-76263
              Name

                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                    274,260.87
 5b. Total claims from Part 2                                                                       5b.   +   $                    284,307.15

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      558,568.02




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 2
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                                            Case 8-19-76260-ast       Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41

                                                       In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                Case No. 19-76263
                                                         Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                            Claim subject to offset?
                                                                                                                                                  Unliquidated
                                                                                                                                     Contingent
                                                                                                                Specify Code




                                                                                                                                                                 Disputed
                                             Last 4 Digits of                                               Subsection of Priority
        Creditor Name and Mailing Address   Account Number      Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
ACKLEY, VALERIE
1648 CHIPMONK RD
ALLEGANY NY 14706                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,149.65         $1,149.65
ANDERSON, NIKITA
696 GLEASON HOLLOW ROAD
PORTVILLE NY 14770                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,602.05         $1,602.05
AUVIL, DANNY
1028 RIVER ST
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                            $573.26            $573.26
BARTH, ANGELA
8186 ROUTE 417
LITTLE GENESEE NY 14754                                                 Earned Employee Hours                  11 USC 507(a)(4)                                                                              $81.32            $81.32
BEATTY, CYNTHIA
3206 CRANBERRY RD
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                              $63.15            $63.15
BIALASZEWSKI, EMILY
3700 FORD MILES ROAD
CUBA NY 14727                                                           Earned Employee Hours                  11 USC 507(a)(4)                                                                            $857.32            $857.32
BUTLER, VIOLET
2319 FIVE MILE ROAD
ALLEGANY NY 14706                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                           $5,580.92         $5,580.92
BUTTON, AMY
414 ALDER ST APT. 3
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                            $964.76            $964.76
CAGGIANO, RICHARD
36 ROUTE 446
CUBA NY 14727                                                           Earned Employee Hours                  11 USC 507(a)(4)                                                                            $980.70            $980.70
CHANDLER, LACEY
1607 PORTVILLE - OBI ROAD
PORTVILLE NY 14770                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                               $7.10             $7.10
CLAYSON, CARRIE
502 PROSPECT AVE
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,773.49         $1,773.49
COLLINS, JESSICA
212 EAST STATE STREET
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                           $2,674.28         $2,674.28



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                                                         In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                  Case No. 19-76263
                                                           Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                    Unliquidated
                                                                                                                                       Contingent
                                                                                                                  Specify Code




                                                                                                                                                                   Disputed
                                             Last 4 Digits of                                                 Subsection of Priority
        Creditor Name and Mailing Address   Account Number        Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
COMES, CHRISTINA
57 WEST MAIN STREET
CUBA NY 14727                                                             Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,656.95         $1,656.95
CORDOVA CHARRAGA, ALEJANDRO
5605 ROUTE 16
HINSDALE NY 14743                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                           $2,372.04         $2,372.04
DAY, JOSEPHINE
419 WEST WASHINGTON STREET
BRAFORD PA 16701                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                               $1.76             $1.76
ELLIOTT, LORI
1450 INDIANA AVENUE
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                            $408.06            $408.06
ERWAY, WILLIAM
518 N. 8TH STREET
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,634.17         $1,634.17
FED
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3500                        8/2/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $2,411.38         $2,411.38
FED
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3500                        8/9/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $2,483.02         $2,483.02
FED
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3500                       8/16/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $2,775.66         $2,775.66
FED
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3500                       8/23/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $2,643.27         $2,643.27
FED
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3500                       8/30/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $2,674.89         $2,674.89
HALLOCK, TELICIA
1508 HAPPY HOLLOW ROAD
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                           $4,642.73         $4,642.73
HAMILTON, BILLIE
24 PINE STREET
PORTVILLE NY 14770                                                        Earned Employee Hours                  11 USC 507(a)(4)                                                                            $212.78            $212.78



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                                                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                               Case No. 19-76263
                                                        Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                           Claim subject to offset?
                                                                                                                                                 Unliquidated
                                                                                                                                    Contingent
                                                                                                               Specify Code




                                                                                                                                                                Disputed
                                            Last 4 Digits of                                               Subsection of Priority
       Creditor Name and Mailing Address   Account Number      Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
HAMILTON, DARLA
3974 RTE. 27
LOT 25
ALLEGANY NY 14706                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $3,179.65         $3,179.65
HOGG, DANIELLE
324 1/2 NORTH 3RD STREET
OLEAN NY 14760                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                            $411.95            $411.95
HOSMER, JESSIANNE
9770 UNDERWOOD LANE
PORTVILLE NY 14770                                                     Earned Employee Hours                  11 USC 507(a)(4)                                                                            $707.95            $707.95
JASTRZAB, DIANE
3570 CHERRY VALLEY ROAD
ALLEGANY NY 14706                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $7,487.56         $7,487.56
JOHNSON, DEMETRIA
9934 KELLER HILL RD
CUBA NY 14727                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                               $4.03             $4.03
KETTERING, JUDITH
3008 SMITH HOLLOW ROAD
ALLEGANY NY 14706                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                            $382.57            $382.57
KRAMER, ALEXIS
1400 WINDFALL ROAD
OLEAN NY 14760                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                            $878.58            $878.58
KRAMER, JESSICA
4188 FAY HOLLOW RD
HINSDALE NY 14743                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $3,774.13         $3,774.13
KUHANECK, JAIME
3008 SMITH HOLLOW ROAD
APT. 3
ALLEGANY NY 14706                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                            $955.85            $955.85
LAROY, CRYSTAL
128 1/2 S. 8TH STREET
OLEAN NY 14760                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                            $983.70            $983.70
LOHMAN-HOMUTH, PHAEDRA
7027 MT MOROE
CUBA NY 14727                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                           $3,253.58         $3,253.58




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                                                         In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                  Case No. 19-76263
                                                           Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                    Unliquidated
                                                                                                                                       Contingent
                                                                                                                  Specify Code




                                                                                                                                                                   Disputed
                                             Last 4 Digits of                                                 Subsection of Priority
        Creditor Name and Mailing Address   Account Number        Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
LUTE, ELIZABETH
2438 MAINE HILL RD
HINSDALE NY 14706                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                           $5,874.90         $5,874.90
MAHLE, TAMMY
P.O. BOX 11
WELLSVILLE NY 14895                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                            $749.35            $749.35
MARRA, ALBERT
237 CAROLINE ST
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                           $4,454.99         $4,454.99
MASON, KELLY LYNN
1097 PROMISED LAND ROAD
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                            $100.95            $100.95
MAST, KEZIAH
10208 PIGEON VALLEY RD
CATTARAUGUS NY 14719                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                              $46.23            $46.23
MCR
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                        8/2/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                      $873.22            $873.22
MCR
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                        8/9/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                      $891.28            $891.28
MCR
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                       8/16/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                      $959.80            $959.80
MCR
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                       8/23/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                      $920.98            $920.98
MCR
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                       8/30/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                      $931.52            $931.52
MINK, TONI
161 W MAIN STREET
APT. 2
ALLEGANY NY 14706                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                            $871.25            $871.25




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                                                        In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                 Case No. 19-76263
                                                          Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                             Claim subject to offset?
                                                                                                                                                   Unliquidated
                                                                                                                                      Contingent
                                                                                                                 Specify Code




                                                                                                                                                                  Disputed
                                            Last 4 Digits of                                                 Subsection of Priority
       Creditor Name and Mailing Address   Account Number        Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
MYE, JOHN
8551 STEWART RD.
FRIENDSHIP NY 14739                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $5,760.75         $5,760.75
MYE, JOHNNA
8551 STEWART RD
FRIENDSHIP NY 14739                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                           $4,156.98         $4,156.98
NEARY-STROMECKI, CASSIDY
1591 GREEN RD
FREEDOM NY 14065                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,644.63         $1,644.63
NEDELL, TRACY
233 ADAMS STREET
OLEAN NY 14760                                                           Earned Employee Hours                  11 USC 507(a)(4)                                                                           $4,466.41         $4,466.41
NOLDER, JILL
3446 CELESTE DRIVE
ALLEGANY NY 14706                                                        Earned Employee Hours                  11 USC 507(a)(4)                                                                            $925.28            $925.28
NY STATE
NYS DEPARTMENT OF TAXATION & FINANCE
WA HARRIMAN CAMPUS
ALBANY NY 12227-0001                             3700                       7/26/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $1,111.43         $1,111.43
NY STATE
NYS DEPARTMENT OF TAXATION & FINANCE
WA HARRIMAN CAMPUS
ALBANY NY 12227-0001                             3700                        8/2/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $1,134.64         $1,134.64
NY STATE
NYS DEPARTMENT OF TAXATION & FINANCE
WA HARRIMAN CAMPUS
ALBANY NY 12227-0001                             3700                        8/9/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $1,180.97         $1,180.97
NY STATE
NYS DEPARTMENT OF TAXATION & FINANCE
WA HARRIMAN CAMPUS
ALBANY NY 12227-0001                             3700                       8/16/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $1,320.97         $1,320.97
NY STATE
NYS DEPARTMENT OF TAXATION & FINANCE
WA HARRIMAN CAMPUS
ALBANY NY 12227-0001                             3700                       8/23/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $1,264.31         $1,264.31




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                                                         In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                  Case No. 19-76263
                                                           Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                    Unliquidated
                                                                                                                                       Contingent
                                                                                                                  Specify Code




                                                                                                                                                                   Disputed
                                             Last 4 Digits of                                                 Subsection of Priority
        Creditor Name and Mailing Address   Account Number        Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                          Total Claim    Priority Amount
NYS MEDICAID
HEALTH FACILITIES ASSESSMENT FUND
MR. JEROME ALAMIO/OFFICE OF POOL ADMIN
P.O. BOX 4757
SYRACUSE NY 13221-4757                                                Various Dates, Assessment Tax              11 USC 507(a)(8)                     X                                                  $135,591.17        $135,591.17
PAVONE, BENJAMIN
217 WHITE OAK DRIVE
ALLEGANY NY 14706                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                               $3.31             $3.31
PHILLIPS, NITIKA
1391 OLEAN PORTVILLE ROAD
OLEAN NY 14760                                                            Earned Employee Hours                  11 USC 507(a)(4)                                                                              $19.82            $19.82
PLATT, CHELSEY
235 W RIVER ROAD
PORTVILLE NY 14770                                                        Earned Employee Hours                  11 USC 507(a)(4)                                                                           $1,441.68         $1,441.68
PRZYBYLA, JOSEPH
3319 JOLLYTOWN RD.
CUBA NY 14727                                                             Earned Employee Hours                  11 USC 507(a)(4)                                                                         $10,478.10         $10,478.10
SCHUMAN, KYLIE
104 WILLIAM STREET
ALLEGANY NY 14706                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                            $106.57            $106.57
SIGLER, RENA
4130 5 MILE RD.
ALLEGANY NY 14706                                                         Earned Employee Hours                  11 USC 507(a)(4)                                                                               $3.75             $3.75
SST
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                        8/2/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $3,733.34         $3,733.34
SST
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                        8/9/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $3,811.42         $3,811.42
SST
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                       8/16/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $4,104.00         $4,104.00
SST
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                               3600                       8/23/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                     $3,938.24         $3,938.24




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                                                       In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                Case No. 19-76263
                                                         Schedule E/F: Part 1 - Creditors With Priority Unsecured Claims




                                                                                                                                                                              Claim subject to offset?
                                                                                                                                                  Unliquidated
                                                                                                                                     Contingent
                                                                                                                Specify Code




                                                                                                                                                                 Disputed
                                           Last 4 Digits of                                                 Subsection of Priority
      Creditor Name and Mailing Address   Account Number        Date Debt was Incurred, Basis for Claim       Unsecured Claim                                                                            Total Claim    Priority Amount
SST
INTERNAL REVENUE SERVICE
OGDEN UT 84201-0039                             3600                       8/30/2019 ,Taxes                    11 USC 507(a)(8)                     X                                                       $3,982.76         $3,982.76
TERHUNE, BRANDY
115 THOMPSON AVENUE
LITTLE VALLEY NY 14755                                                  Earned Employee Hours                  11 USC 507(a)(4)                                                                             $1,335.19         $1,335.19
THOMAS, STOEFFAUNNIE
106 E. NORTH STREET
SMETHPORT PA 16749                                                      Earned Employee Hours                  11 USC 507(a)(4)                                                                             $1,330.76         $1,330.76
TIERSON, AMANDA
1868 BUFFALO STREET
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                              $167.20            $167.20
TIERSON, KIMBERLY
134 S 12TH STREET
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                              $919.97            $919.97
VANRENSSELAER, ELNORA
4115 S. 9 MILE ROAD
LOT 44
ALLEGANY NY 14706                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                              $233.70            $233.70
VANRENSSELAER, JACOB
4115 S. 9 MILE RD
LOT 44
ALLEGANY NY 14706                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                              $608.76            $608.76
WHEELER, ANNA MARIE
1868 BUFFALO STREET
OLEAN NY 14760                                                          Earned Employee Hours                  11 USC 507(a)(4)                                                                              $291.69            $291.69
WILSON, WOODROW
33 AVENUE B
P.O. BOX 1054
BRADFORD PA 16701                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                                $48.75            $48.75
ZIMMERMAN, BRYAN
529 SOUTH AVENUE
BRADFORD PA 16701                                                       Earned Employee Hours                  11 USC 507(a)(4)                                                                              $225.59            $225.59
                                                                                                                                                                            Total:                       $274,260.87        $274,260.87




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                                                                                  In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                           Case No. 19-76263
                                                                                  Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                   Contingent
                                                                                                                                                                                               Date Debt was




                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                             Incurred, Basis for
                             Creditor Name                             Address1                                    Address2                  City             State        Zip     Country         Claim                                                                             Total Claim
1199 SEIU                                    Dues Department                                                                        New York             NY           10108                         9/12/2019                     X                                                        $1,669.93
1199 SEIU                                    Political Action Fund                                                                  New York             NY           10108                         9/12/2019                     X                                                           $56.74
1199 SEIU                                    Regional Pension Plan                                                                  Buffalo              NY           14214                          8/9/2019                     X                                                          $688.34
1199 SEIU                                    Regional Pension Plan                                                                  Buffalo              NY           14214                         9/19/2019                     X                                                          $836.00
1199 SEIU Greater NY Education Fund          330 West 42nd St., 28th Floor                                                          New York             NY           10036                          8/2/2019                     X                                                          $362.76
1199 SEIU Greater NY Education Fund          330 West 42nd St., 28th Floor                                                          New York             NY           10036                         9/12/2019                     X                                                          $434.82
A Place For Mom                              P.O. Box 674164                                                                        Detroit              MI           48267-4164                    7/31/2017                     X                                                        $1,000.00
A Place For Mom                              P.O. Box 674164                                                                        Detroit              MI           48267-4164                  10/31/2017                      X                                                          $667.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         7/31/2018                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         8/27/2018                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         9/30/2018                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                       10/30/2018                      X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                       11/30/2018                      X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                       12/31/2018                      X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         1/31/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         2/28/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         3/31/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         4/29/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         5/30/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         6/23/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                          7/9/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         8/20/2019                     X                                                          $200.00
Advo Waste Medical Services, LLC             P.O. Box 356                                                                           Lakewood             NJ           08701                         9/24/2019                     X                                                          $200.00
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         3/31/2019                     X                                                         -$438.27
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         5/29/2019                     X                                                           $51.03
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         5/31/2019                     X                                                           $54.16
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         6/30/2019                     X                                                           $54.16
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         7/26/2019                     X                                                           $51.03
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         7/31/2019                     X                                                           $54.16
Airgas USA, LLC                              P.O. Box 734445                                                                        Chicago              IL           60673                         8/31/2019                     X                                                           $54.16
All State Fire & Security                    400 Mineral Springs Rd.                                                                Buffalo              NY           14224-1016                    7/12/2019                     X                                                          $238.44
All State Fire & Security                    400 Mineral Springs Rd.                                                                Buffalo              NY           14224-1016                     8/9/2019                     X                                                          $262.50
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         8/29/2018                     X                                                          $495.72
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         8/31/2018                     X                                                          $457.84
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          9/4/2018                     X                                                          $113.03
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         9/26/2018                     X                                                        $1,289.20
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                       10/10/2018                      X                                                           $39.38
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                       10/26/2018                      X                                                          $320.23
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                       11/28/2018                      X                                                          $940.49
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         12/6/2018                     X                                                           $28.31
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          1/7/2019                     X                                                           $83.56
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          1/9/2019                     X                                                          $247.32
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          2/4/2019                     X                                                          $229.38
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          3/6/2019                     X                                                          $229.38
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          3/7/2019                     X                                                          $357.91
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         3/11/2019                     X                                                          $941.47
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         3/29/2019                     X                                                          $517.32
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          4/2/2019                     X                                                          $244.62
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         4/30/2019                     X                                                          $213.49
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          5/9/2019                     X                                                          $259.88
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          6/3/2019                     X                                                          $143.37
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          6/5/2019                     X                                                          $196.20
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          6/6/2019                     X                                                           $75.46
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                          7/2/2019                     X                                                          $731.00
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         7/25/2019                     X                                                          $183.59
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         7/29/2019                     X                                                          $456.73
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         8/13/2019                     X                                                          $449.01
Allstate Medical                             34 35th St. Bldg. #6                                                                   Brooklyn             NY           11232                         10/2/2019                     X                                                           $34.00
American Express                             200 Vesey Street                                                                       New York             NY           10281                      Various Dates                    X                                                       $58,926.38
Amtrust North America, Inc.                  P.O. Box 94557                                                                         Cleveland            OH           44101-4557                    6/30/2019                     X                                                        $2,478.98
Billit AIT, LLC                              300 GLEED AVE.                                                                         EAST AURORA          NY           14052                         7/31/2019                     X                                                           $77.30
Billit AIT, LLC                              300 GLEED AVE.                                                                         EAST AURORA          NY           14052                         8/31/2019                     X                                                           $64.00




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                                                                    Case 8-19-76260-ast         Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41


                                                                                 In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                          Case No. 19-76263
                                                                                 Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                         Claim subject to offset?
                                                                                                                                                                                                                               Unliquidated
                                                                                                                                                                                                                  Contingent
                                                                                                                                                                                              Date Debt was




                                                                                                                                                                                                                                              Disputed
                                                                                                                                                                                            Incurred, Basis for
                              Creditor Name                           Address1                                    Address2                  City             State        Zip     Country         Claim                                                                             Total Claim
Bimbo Foods, Inc.                             P.O. Box 827810                                                                      Philadelphia         PA           19182-7810                    6/30/2019                     X                                                          $219.71
Bimbo Foods, Inc.                             P.O. Box 827810                                                                      Philadelphia         PA           19182-7810                    7/31/2019                     X                                                          $204.65
Bimbo Foods, Inc.                             P.O. Box 827810                                                                      Philadelphia         PA           19182-7810                    8/31/2019                     X                                                          $272.33
Brigiotta's Produce & Garden Center           410-414 Fairmont Ave                                                                 Jamestown            NY           14701                         9/10/2019                     X                                                          $143.63
Buffalo Hotel Supply Co., Inc.                P.O. Box 646                                                                         Amherst              NY           14226-0646                    5/31/2018                     X                                                          $207.31
Buffalo Hotel Supply Co., Inc.                P.O. Box 646                                                                         Amherst              NY           14226-0646                    6/29/2018                     X                                                          $274.59
Casella Waste Services, Inc.                  P.O. Box 1372                                                                        Williston            VT           05495-1372                     7/1/2019                     X                                                          $626.66
Casella Waste Services, Inc.                  P.O. Box 1372                                                                        Williston            VT           05495-1372                     8/1/2019                     X                                                          $634.90
Casella Waste Services, Inc.                  P.O. Box 1372                                                                        Williston            VT           05495-1372                     9/1/2019                     X                                                          $647.87
Cattaraugus County Sheriff                    301 Court Street                                                                     Little Valley        NY           14755                         10/5/2019                     X                                                           $43.87
Chudy Paper Company Inc.                      2615 Walden Ave.                                                                     Cheektowaga          NY           14225                          7/2/2019                     X                                                          $600.86
Chudy Paper Company Inc.                      2615 Walden Ave.                                                                     Cheektowaga          NY           14225                          8/6/2019                     X                                                          $482.06
Chudy Paper Company Inc.                      2615 Walden Ave.                                                                     Cheektowaga          NY           14225                         8/19/2019                     X                                                           $31.13
Chudy Paper Company Inc.                      2615 Walden Ave.                                                                     Cheektowaga          NY           14225                         9/10/2019                     X                                                          $439.76
Culligan Stewart Water                        Conditioning, Inc.                                                                   Bradford             PA           16701                         7/25/2019                     X                                                           $86.72
Culligan Stewart Water                        Conditioning, Inc.                                                                   Bradford             PA           16701                         8/26/2019                     X                                                           $40.82
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          8/1/2018                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          9/1/2018                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                         10/1/2018                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                         11/1/2018                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                         12/1/2018                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          1/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          2/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          3/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          4/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          5/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          6/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          7/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          8/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                          9/1/2019                     X                                                          $300.00
Dentserv Dental Service PC                    15 Canal Road                                                                        Pelham Manor         NY           10803                         10/1/2019                     X                                                          $300.00
Dobmeier Janitor Supply, Inc.*                354 Englewood Ave.                                                                   Buffalo              NY           14223-2806                    11/3/2017                     X                                                          $285.98
Dobmeier Janitor Supply, Inc.*                354 Englewood Ave.                                                                   Buffalo              NY           14223-2806                    1/10/2018                     X                                                          $225.56
Dobmeier Janitor Supply, Inc.*                354 Englewood Ave.                                                                   Buffalo              NY           14223-2806                    2/19/2018                     X                                                          $241.70
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         7/31/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         8/31/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         9/30/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                        10/31/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                        11/30/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                        12/31/2018                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         1/31/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         2/28/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         3/31/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         4/30/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         5/31/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         6/30/2019                     X                                                          $150.00
DR Innovations, LLC                           10 Marietta Drive                                                                    Pomona               NY           10970                         7/31/2019                     X                                                          $150.00
Eaton Office Supply Co., Inc.                 180 John Glenn Dr.                                                                   Amherst              NY           14228                          9/9/2019                     X                                                          $226.78
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                         10/3/2018                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                         11/3/2018                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                         12/3/2018                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          1/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          2/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          3/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          4/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          5/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          6/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          7/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                          8/3/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                         9/12/2019                     X                                                          $189.00
Ellicottville Kitchen Equipment               P.O. Box 1549                                                                        Ellicottville        NY           14731                         10/3/2019                     X                                                          $189.00
Emerald Resources, Inc.                       320 Gateway Park Resources                                                           N. Syracuse          NY           13212                         6/17/2019                     X                                                          $469.26




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                                                                                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                               Case No. 19-76263
                                                                                      Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                                                    Unliquidated
                                                                                                                                                                                                                       Contingent
                                                                                                                                                                                                   Date Debt was




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                                                                                                                                                                                                 Incurred, Basis for
                              Creditor Name                                Address1                                    Address2                  City             State        Zip     Country         Claim                                                                             Total Claim
Formal Maintenance Services, Inc              P.O. Box 423                                                                              Lancaster            NY           14086                         8/26/2019                     X                                                         $459.00
Global Health Products, Inc.                  1099 Jay Street, Ste 100E                                                                 Rochester            NY           14611-1155                     8/6/2019                     X                                                         $261.56
Global Health Products, Inc.                  1099 Jay Street, Ste 100E                                                                 Rochester            NY           14611-1155                     9/6/2019                     X                                                         $261.56
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         10/6/2017                     X                                                         $761.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/13/2017                     X                                                         $866.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/20/2017                     X                                                         $210.00
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/27/2017                     X                                                         $262.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         11/3/2017                     X                                                         $516.08
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/10/2017                     X                                                         $315.00
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/17/2017                     X                                                         $774.38
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/24/2017                     X                                                         $820.32
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         12/1/2017                     X                                                         $759.15
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        12/15/2017                     X                                                         $315.00
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        12/22/2017                     X                                                         $328.13
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        12/29/2017                     X                                                        $1,076.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          1/5/2018                     X                                                         $761.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         1/12/2018                     X                                                         $367.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         1/19/2018                     X                                                         $909.83
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         1/26/2018                     X                                                         $249.38
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          2/2/2018                     X                                                         $341.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          2/9/2018                     X                                                         $367.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         2/16/2018                     X                                                         $420.00
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          3/2/2018                     X                                                         $971.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          3/9/2018                     X                                                         $262.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         3/16/2018                     X                                                         $813.75
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         3/23/2018                     X                                                         $511.88
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         3/30/2018                     X                                                        $1,942.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          4/6/2018                     X                                                         $393.75
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         4/13/2018                     X                                                        $1,968.75
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         4/20/2018                     X                                                        $1,720.43
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         4/27/2018                     X                                                        $1,788.16
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          5/4/2018                     X                                                        $1,988.19
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         5/11/2018                     X                                                        $1,654.82
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         5/18/2018                     X                                                        $1,714.13
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         5/25/2018                     X                                                        $2,063.79
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          6/1/2018                     X                                                        $1,867.96
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          6/8/2018                     X                                                        $2,003.94
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         6/15/2018                     X                                                        $1,878.46
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         6/22/2018                     X                                                        $1,835.95
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         6/29/2018                     X                                                        $2,012.87
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          7/6/2018                     X                                                        $2,003.93
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         7/13/2018                     X                                                        $2,060.63
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         7/20/2018                     X                                                        $1,588.13
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         7/27/2018                     X                                                         $870.46
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          8/3/2018                     X                                                        $2,051.72
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         8/10/2018                     X                                                        $1,937.25
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         8/17/2018                     X                                                        $2,167.74
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         8/24/2018                     X                                                        $2,051.71
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         8/31/2018                     X                                                        $2,094.76
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                          9/7/2018                     X                                                        $2,116.55
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         9/14/2018                     X                                                        $2,153.56
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         9/21/2018                     X                                                        $2,186.64
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         9/28/2018                     X                                                        $1,766.64
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         10/5/2018                     X                                                        $1,965.08
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/12/2018                     X                                                        $1,940.94
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/19/2018                     X                                                        $1,921.50
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        10/26/2018                     X                                                        $1,894.20
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         11/2/2018                     X                                                        $1,972.96
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                         11/9/2018                     X                                                        $1,971.38
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/16/2018                     X                                                        $1,986.61
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/23/2018                     X                                                        $2,040.69
Grandison Management Inc.                     1413 38th St.                                                                             Brooklyn             NY           11218                        11/30/2018                     X                                                        $2,245.70




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                                                                                     In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                              Case No. 19-76263
                                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




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                                                                                                                                                                                                Incurred, Basis for
                               Creditor Name                              Address1                                    Address2                  City             State        Zip     Country         Claim                                                                             Total Claim
Grandison Management Inc.                      1413 38th St.                                                                           Brooklyn             NY           11218                         12/7/2018                     X                                                        $1,966.13
Grandison Management Inc.                      1413 38th St.                                                                           Brooklyn             NY           11218                        12/14/2018                     X                                                        $1,972.95
Grandison Management Inc.                      1413 38th St.                                                                           Brooklyn             NY           11218                        12/21/2018                     X                                                        $1,758.75
Great Lakes Medical Imaging                    P.O. Box 8000 Dept. 658                                                                 Buffalo              NY           14267                          5/6/2019                     X                                                         $248.99
Harbor Linen                                   P.O. Box 3510                                                                           Cherry Hill          NJ           08034                         5/29/2019                     X                                                         $342.61
Harbor Linen                                   P.O. Box 3510                                                                           Cherry Hill          NJ           08034                          7/5/2019                     X                                                         $518.55
Harbor Linen                                   P.O. Box 3510                                                                           Cherry Hill          NJ           08034                          8/7/2019                     X                                                         $404.95
Harbor Linen                                   P.O. Box 3510                                                                           Cherry Hill          NJ           08034                         9/12/2019                     X                                                         $126.90
Harbor Linen                                   P.O. Box 3510                                                                           Cherry Hill          NJ           08034                         9/17/2019                     X                                                         $466.44
Harter, Secrest & Emery LLP                    1600 Bausch & Lomb Place                                                                Rochester            NY           14604-2711                    1/16/2018                     X                                                         $750.00
Harter, Secrest & Emery LLP                    1600 Bausch & Lomb Place                                                                Rochester            NY           14604-2711                    7/25/2018                     X                                                        $5,000.00
Harter, Secrest & Emery LLP                    1600 Bausch & Lomb Place                                                                Rochester            NY           14604-2711                    4/22/2019                     X                                                        $2,500.00
Hartford Steam Boiler                          21045 Network Place                                                                     Chicago              IL           60673                         9/12/2018                     X                                                         $105.00
Hartford Steam Boiler                          21045 Network Place                                                                     Chicago              IL           60673                         2/27/2019                     X                                                         $105.00
HD Supply Facilities Maintenance, LTD          P.O. Box 509058                                                                         San Diego            CA           92150-9058                    8/30/2019                     X                                                         $158.97
HD Supply Facilities Maintenance, LTD          P.O. Box 509058                                                                         San Diego            CA           92150-9058                     9/4/2019                     X                                                         $331.07
HD Supply Facilities Maintenance, LTD          P.O. Box 509058                                                                         San Diego            CA           92150-9058                    9/11/2019                     X                                                         $369.06
HD Supply Facilities Maintenance, LTD          P.O. Box 509058                                                                         San Diego            CA           92150-9058                    9/12/2019                     X                                                         $174.83
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                          1/3/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         1/15/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         2/20/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         3/20/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         4/20/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         5/21/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         6/14/2018                     X                                                         $450.00
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                         7/27/2018                     X                                                         $112.50
Health System Physician, PC                    Attn: William Bizzaro                                                                   Olean                NY           14760                        10/23/2018                     X                                                         $112.50
Instantwhip                                    P.O. Box 645592                                                                         Cincinnati           OH           45264-5592                    7/31/2019                     X                                                         $707.66
Instantwhip                                    P.O. Box 645592                                                                         Cincinnati           OH           45264-5592                    8/31/2019                     X                                                         $574.23
Integra Scripts LLC                            160 Airport Road                                                                        Lakewood             NJ           08701                          6/1/2019                     X                                                         $311.15
Integra Scripts LLC                            160 Airport Road                                                                        Lakewood             NJ           08701                          7/1/2019                     X                                                         $311.15
Interstate Gourmet Coffee Roasters, Inc*       43 Norfolk Ave.                                                                         South Easton         MA           02375                         6/30/2019                     X                                                           $59.21
Interstate Gourmet Coffee Roasters, Inc*       43 Norfolk Ave.                                                                         South Easton         MA           02375                         7/31/2019                     X                                                         $185.29
Interstate Gourmet Coffee Roasters, Inc*       43 Norfolk Ave.                                                                         South Easton         MA           02375                         8/31/2019                     X                                                         $185.29
Interstate Gourmet Coffee Roasters, Inc.       43 Norfolk Ave.                                                                         South Easton         MA           02375                         10/3/2019                     X                                                           $59.21
Irish Welding & Carbonic Corp                  P.O. Box 409                                                                            Buffalo              NY           14212-0409                    9/30/2019                     X                                                         $170.29
Jamma Consulting Inc.                          190 Vail Ave.                                                                           Staten Island        NY           10309                        11/30/2016                     X                                                        $2,563.16
Jasper's Auto Sales & Service LLC              9401 North Branch Rd                                                                    Cuba                 NY           14727                         8/26/2019                     X                                                         $303.38
Mantis Medical Equip. Service, LLC             P.O. Box 159                                                                            Clarendon            NY           14429                         7/29/2019                     X                                                        $1,243.03
Martin F. Scheinman, Esq.                      322 Main Street                                                                         Port Washington      NY           11050                         12/1/2018                     X                                                        $2,875.00
Medline Industries, Inc.                       P.O. Box 382075                                                                         Pittsburgh           PA           15251-8075                    8/20/2019                     X                                                         $399.00
Michael J. Merletti DPM                        282 Ransom Rd.                                                                          Grand Island         NY           14072                          4/9/2018                     X                                                           $48.08
Michael J. Merletti DPM                        282 Ransom Rd.                                                                          Grand Island         NY           14072                         8/22/2018                     X                                                         $119.65
National Grid                                  P.O. Box 11742                                                                          Newark               NJ           07101-4742                    8/24/2019                     X                                                        $1,693.49
National Grid                                  P.O. Box 11742                                                                          Newark               NJ           07101-4742                     9/4/2019                     X                                                           $35.29
NYS Child Support Processing Center            P.O. Box 15363                                                                          Albany               NY           12212-5363                    10/5/2019                     X                                                         $200.04
NYSEG                                          P.O. Box 847812                                                                         Boston               MA           02284-7812                     9/3/2019                     X                                                         $557.26
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                        11/22/2017                     X                                                        $2,366.48
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                        12/28/2017                     X                                                        $1,275.23
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                        12/31/2017                     X                                                         $918.67
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         1/31/2018                     X                                                         $876.41
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         3/19/2018                     X                                                         $805.46
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         4/30/2018                     X                                                        $1,635.92
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         5/23/2018                     X                                                         $462.71
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         6/20/2018                     X                                                         $566.44
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                          8/2/2018                     X                                                         $681.96
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                          8/8/2018                     X                                                         $441.57
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         9/28/2018                     X                                                         $619.81
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                        11/16/2018                     X                                                         $964.26
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                        12/28/2018                     X                                                         $690.10
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         1/21/2019                     X                                                         $586.19
Olean General Hospital                         515 Main Street                                                                         Olean                NY           14760                         2/28/2019                     X                                                         $649.85




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                                                                                  In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                           Case No. 19-76263
                                                                                  Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                          Claim subject to offset?
                                                                                                                                                                                                                                Unliquidated
                                                                                                                                                                                                                   Contingent
                                                                                                                                                                                               Date Debt was




                                                                                                                                                                                                                                               Disputed
                                                                                                                                                                                             Incurred, Basis for
                             Creditor Name                             Address1                                    Address2                  City             State        Zip     Country         Claim                                                                                Total Claim
Olean General Hospital                       515 Main Street                                                                        Olean                NY           14760                         3/31/2019                     X                                                             $806.38
Olean General Hospital                       515 Main Street                                                                        Olean                NY           14760                         6/13/2019                     X                                                            $1,238.93
Olean General Hospital                       515 Main Street                                                                        Olean                NY           14760                         9/20/2019                     X                                                            $1,606.43
Olean Medical Group                          535 Main St.                                                                           Olean                NY           14760                        12/14/2015                     X                                                             $286.39
Olean Medical Group                          535 Main St.                                                                           Olean                NY           14760                          4/2/2018                     X                                                               $19.93
Olean Medical Group                          535 Main St.                                                                           Olean                NY           14760                         4/30/2018                     X                                                             $328.95
Olean Medical Group                          535 Main St.                                                                           Olean                NY           14760                         10/1/2018                     X                                                            $1,885.00
Olean Medical Group                          535 Main St.                                                                           Olean                NY           14760                        10/15/2018                     X                                                             $556.69
PATIENT 24                                   Brown Chiari LLP (Brian Hogan)                                  2470 Walden Ave.       Buffalo              NY           14225                                          X            X             X                                    Unknown
PointClickCare Technologies, Inc.            P.O. Box 674802                                                                        Detroit              MI           48267-4802                     4/1/2018                     X                                                             $711.21
PointClickCare Technologies, Inc.            P.O. Box 674802                                                                        Detroit              MI           48267-4802                    10/1/2019                     X                                                             $686.51
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         3/26/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         4/23/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         5/21/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         6/18/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         7/16/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         8/13/2019                     X                                                               $15.68
Povinelli Cutlery Inc.                       3810 Union Rd.                                                                         Cheektowaga          NY           14225                         9/10/2019                     X                                                               $16.76
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         2/10/2017                     X                                                             $850.73
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          4/7/2017                     X                                                             $718.92
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          5/5/2017                     X                                                             $240.21
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         6/13/2017                     X                                                             $395.49
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          7/6/2017                     X                                                            $1,573.29
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          8/7/2017                     X                                                               $16.45
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         8/31/2017                     X                                                            $1,022.79
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                        10/17/2017                     X                                                             $722.32
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         11/8/2017                     X                                                             $286.29
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         12/6/2017                     X                                                            $1,313.41
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                        12/31/2017                     X                                                            $1,155.62
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         2/10/2018                     X                                                            $1,398.78
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         3/12/2018                     X                                                             $454.53
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         4/20/2018                     X                                                            $1,146.70
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         5/18/2018                     X                                                            $1,213.38
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         6/14/2018                     X                                                             $915.40
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         7/12/2018                     X                                                             $745.03
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          8/8/2018                     X                                                             $768.06
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         9/12/2018                     X                                                             $484.93
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                        10/11/2018                     X                                                             $206.50
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         11/7/2018                     X                                                             $779.22
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         12/6/2018                     X                                                            $1,269.19
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          1/7/2019                     X                                                             $915.88
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         2/11/2019                     X                                                             $463.24
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         3/12/2019                     X                                                             $485.16
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          4/8/2019                     X                                                            $2,322.44
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          5/8/2019                     X                                                            $2,674.58
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          6/7/2019                     X                                                            $2,931.79
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          7/8/2019                     X                                                            $1,383.77
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                          8/9/2019                     X                                                            $1,347.29
Preventive Diagnostics, Inc.                 12 Spencer Street                                                                      Brooklyn             NY           11205                         9/13/2019                     X                                                            $1,373.92
Preventive HealthCare                        311 Breckenridge St.                                                                   Buffalo              NY           14213                          9/3/2019                     X                                                             $400.00
Purchase Power                               P.O. Box 371874                                                                        Pittsburgh           PA           15250-7874                    9/15/2019                     X                                                             $208.99
Pure Water Technology of WNY Inc.            316 Seneca St.                                                                         Buffalo              NY           14204                         3/10/2019                     X                                                             $129.60
Pure Water Technology of WNY Inc.            316 Seneca St.                                                                         Buffalo              NY           14204                         6/10/2019                     X                                                             $129.60
Pure Water Technology of WNY Inc.            316 Seneca St.                                                                         Buffalo              NY           14204                         9/10/2019                     X                                                             $129.60
Pure Water Technology of WNY Inc.            316 Seneca St.                                                                         Buffalo              NY           14204                         9/11/2019                     X                                                             $129.60
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          3/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          4/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          5/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          6/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          7/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          8/1/2019                     X                                                               $59.00
Reqqer, LLC                                  321 Route 59 #356                                                                      Tallman              NY           10982                          9/1/2019                     X                                                               $19.67




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                                                                                     In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                              Case No. 19-76263
                                                                                     Schedule E/F: Part 2 - Creditors With Nonpriority Unsecured Claims




                                                                                                                                                                                                                                                             Claim subject to offset?
                                                                                                                                                                                                                                   Unliquidated
                                                                                                                                                                                                                      Contingent
                                                                                                                                                                                                  Date Debt was




                                                                                                                                                                                                                                                  Disputed
                                                                                                                                                                                                Incurred, Basis for
                                 Creditor Name                            Address1                                    Address2                  City             State        Zip     Country         Claim                                                                             Total Claim
Reqqer, LLC                                      321 Route 59 #356                                                                     Tallman              NY           10982                         10/1/2019                     X                                                           $59.00
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         5/31/2012                     X                                                            $7.91
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         6/30/2012                     X                                                          -$38.90
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         7/31/2012                     X                                                            $4.09
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         8/31/2012                     X                                                            $6.33
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         9/30/2012                     X                                                            $9.30
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                        10/31/2012                     X                                                            $4.09
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                        11/30/2012                     X                                                           -$7.83
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                        12/31/2012                     X                                                            $4.30
Royal Care Pharmacy Services                     Omnicare                                                                              Chicago              IL           60680                         2/28/2013                     X                                                            $8.60
Sherwin Williams                                 11 Delaware Park Ctr.                                                                 Olean                NY           14760                         7/29/2019                     X                                                          $586.52
Sherwin Williams                                 11 Delaware Park Ctr.                                                                 Olean                NY           14760                         9/13/2019                     X                                                        $1,274.15
Southern Tier Prof. Pest Control, Inc.           P.O. Box 231                                                                          Randolph             NY           14772                         6/18/2019                     X                                                           $81.00
Southern Tier Prof. Pest Control, Inc.           P.O. Box 231                                                                          Randolph             NY           14772                         8/21/2019                     X                                                           $81.00
Southern Tier Prof. Pest Control, Inc.           P.O. Box 231                                                                          Randolph             NY           14772                         8/28/2019                     X                                                           $81.00
Southern Tier Prof. Pest Control, Inc.           P.O. Box 231                                                                          Randolph             NY           14772                         9/26/2019                     X                                                          $243.00
Spectrum                                         P.O. Box 70872                                                                        Charlotte            NC           28272                         8/30/2019                     X                                                          $190.56
Sysco Frozen Foods                               24500 Northwest Fwy.                                                                  Cypress              TX           77429                         8/22/2019                     X                                                          $117.21
Sysco Frozen Foods                               24500 Northwest Fwy.                                                                  Cypress              TX           77429                         9/18/2019                     X                                                        $1,973.72
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                    7/31/2019                     X                                                        $1,733.09
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                     8/2/2019                     X                                                         -$132.63
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                     8/7/2019                     X                                                        $1,560.05
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                    8/14/2019                     X                                                        $1,647.85
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                    8/15/2019                     X                                                           $25.46
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                    8/21/2019                     X                                                        $1,206.82
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                    8/28/2019                     X                                                        $1,507.27
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                     9/4/2019                     X                                                        $1,452.38
Sysco Frozen Foods                               800 Allen Street                                                                      Jamestown            NY           14702-0160                     9/6/2019                     X                                                           $30.91
Thomson Reuters-West                             Payment Center                                                                        Carol Stream         IL           60197-6292                     4/4/2018                     X                                                          $192.93
Thomson Reuters-West                             Payment Center                                                                        Carol Stream         IL           60197-6292                     4/4/2019                     X                                                          $198.99
Time Warner                                      P.O. Box 223085                                                                       Pittsburgh           PA           15251-2085                     8/1/2019                     X                                                          $671.98
Time Warner                                      P.O. Box 223085                                                                       Pittsburgh           PA           15251-2085                     9/1/2019                     X                                                          $223.99
Todays Options                                   P.O. Box 31372                                                                        Tampa                FL           33631                         5/21/2019                     X                                                        $2,205.00
Tops Markets                                     6592 Paysphere Circle                                                                 Chicago              IL           60674                         8/31/2019                     X                                                          $242.64
Town of Allegany Utility Building                52 W Main St                                                                          Allegany             NY           14706                         9/25/2019                     X                                                        $1,121.76
TwinMed LLC                                      P.O. Box 847340                                                                       Los Angeles          CA           90084                          9/9/2019                     X                                                           $81.47
TwinMed LLC                                      P.O. Box 847340                                                                       Los Angeles          CA           90084                         9/10/2019                     X                                                          $108.65
TwinMed LLC                                      P.O. Box 847340                                                                       Los Angeles          CA           90084                         9/18/2019                     X                                                          $243.20
TwinMed LLC                                      P.O. Box 847340                                                                       Los Angeles          CA           90084                         9/30/2019                     X                                                           $64.32
U.S. Department Of Education                     P.O. Box 790356                                                                       St. Louis            MO           63179-0356                    10/5/2019                     X                                                           $49.76
Verizon                                          P.O. Box 15124                                                                        Albany               NY           12212-5124                    8/31/2019                     X                                                           $35.80
                                                                                                                                                                                                                                                      Total:                                $284,307.15




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 Fill in this information to identify the case:

 Debtor name         Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         19-76263
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                    State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

 2.1.        State what the contract or
             lease is for and the nature of
             the debtor's interest

                  State the term remaining

             List the contract number of any                                        See Attached Schedule G
                   government contract




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                                                                          Case 8-19-76260-ast        Doc 154      Filed 10/16/19      Entered 10/16/19 09:23:41


                                                                                                      In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                                               Case No. 19-76263
                                                                                                             Schedule G: Executory Contracts and Unexpired Leases

                                                                                                                                                                                                                            Description of Contract or Lease and   Date of Contract or
              Counterparty Name                            Address1                                     Address2                                    Address3                        City     State     Zip      Country         Nature of Debtor's Interest        Lease
2178 N FIFTH STREET LLC                    ATTN: GENERAL COUNSEL                       6380 WILSHIRE BOULEVARD                         SUITE 800                             LOS ANGELES     CA    90048                  REGULATORY AGREEMENT -                                5/21/09
                                                                                                                                                                                                                          MULTIFAMILY HOUSING PROJECTS
2178 N FIFTH STREET LLC                    C/O THE ARBA GROUP, INC.                    ATTN: IRA SMEDRA                                6380 WILSHIRE BOULEVARD,              LOS ANGELES     CA    90048                  LEASE: BUILDING AND LAND                                6/7/07
                                                                                                                                       SUITE 800
ALL STATE FIRE EQUIPMENT OF WNY LLC        ATTN: GENERAL COUNSEL                       400 MINERAL SPRINGS ROAD                                                              WEST SENECA     NY    14224                  SETTLEMENT AGREEMENT                                 3/13/2019
AMERICAN HEALTH TECH INC                   ATTN: GENERAL COUNSEL                       805 SOUTH WHEATLEY STREET                       SUITE 600                             RIDGELAND       MS    39157                  SERVICE CONTRACT                                        6/1/07
AMERICAN PROGRESSIVE LIFE AND HEALTH       ATTN: GENERAL COUNSEL                       44 SOUTH BROADWAY                               SUITE 1200                            WHITE PLAINS    NY    10601                  SERVICE CONTRACT                         Not dated
INSURANCE COMPANY OF NEW YORK
BEILS INFORMATION TECHNOLOGY SYSTEMS       ATTN: GENERAL COUNSEL                       1201 INDIAN CHURCH ROAD                                                               BUFFALO         NY    14224-1383             SERVICE CONTRACT                                       4/28/19
CORPORATION
BILLIT ACCOUNTING & INFORMATION            ATTN: GENERAL COUNSEL                       300 GLEED AVENUE                                                                      EAST AURORA     NY    14052                  SERVICE CONTRACT                                        6/1/07
TECHNOLOGY LLC
BILLIT ACCOUNTING & INFORMATION            ATTN: GENERAL COUNSEL                       300 GLEED AVENUE                                                                      EAST AURORA     NY    14052                  LICENSING AGREEMENT                                    6/23/07
TECHNOLOGY LLC
BLUECROSS BLUESHIELD OF WESTERN NEW        ATTN: VICE PRESIDENT, NETWORK SERVICES      257 WEST GENESEE STREET                                                               BUFFALO         NY    14202-2657             SERVICE CONTRACT                                        1/1/12
YORK
DENTSERV DENTAL SERVICES, P.C.             ATTN: GENERAL COUNSEL                       15 CANAL ROAD                                                                         PELHAM MANOR    NY    11803                  SERVICE CONTRACT                                      1/1/2018
DEPARTMENT OF VETERANS AFFAIRS             SAMUEL S. STRATTON VA MEDICAL CENTER        ATTN: GENERAL COUNSEL                           20 MADISON AVENUE                     ALBANY          NY    12203                  SERVICE CONTRACT                                       8/28/18
                                                                                                                                       EXTENSION
EXCELLUS HEALTH PLAN INC D/B/A UNIVERA     ATTN: GENERAL COUNSEL                       205 PARK CLUB LANE                                                                    BUFFALO         NY    14221                  SERVICE CONTRACT                                       10/1/19
HEALTHCARE
HEALTH SYSTEM SERVICES, LTD                ATTN: ROBERT A. MINICUCCI, SR., PRESIDENT   6867 WILLIAMS ROAD                                                                    NIAGARA FALLS   NY    14304                  SERVICE CONTRACT                                        4/4/16
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
ICIRCLE SERVICES OF THE FINGER LAKES INC   ATTN: GENERAL COUNSEL                       860 HARD ROAD                                                                         WEBSTER         NY    14680                  SERVICE CONTRACT                                        6/1/17
INDEPENDENT HEALTH ASSOCIATION INC         ATTN: GENERAL COUNSEL                       PO BOX 9066                                                                           BUFFALO         NY    14231                  SERVICE CONTRACT                                        6/1/19
INDEPENDENT HEALTH BENEFITS CORPORATION    ATTN: GENERAL COUNSEL                       511 FARBER LAKES DRIVE                                                                BUFFALO         NY    14221                  SERVICE CONTRACT                                        6/1/19

INDEPENDENT HEALTH BENEFITS CORPORATION ATTN: GENERAL COUNSEL                          511 FARBER LAKES DRIVE                                                                BUFFALO         NY    14221                  SERVICE CONTRACT                                        6/1/19

INTEGRA SCRIPTS LLC                        ATTN: GENERAL COUNSEL                       160 AIRPORT ROAD                                                                      LAKEWOOD        NJ    08701                  SOFTWARE LICENSING AGREEMENT                          8/7/2017
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                         Not dated
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
NEW YORK STATE CATHOLIC HEALTH PLAN INC    ATTN: GENERAL COUNSEL                       95-25 QUEENS BOULEVARD                                                                REGO PARK       NY    11374                  SERVICE CONTRACT                                       5/15/17
D/B/A FIDELIS CARE NEW YORK
OPTIMA HEALTHCARE SOLUTIONS LLC            ATTN: STEPHAN C. MACKIE                     4229 SOUTHWEST HIGH MEADOWS AVENUE                                                    PALM CITY       FL    34990                  LICENSING AGREEMENT                                     2/1/16
OPTIMA HEALTHCARE SOLUTIONS LLC            ATTN: STEPHAN C. MACKIE                     4229 SOUTHWEST HIGH MEADOWS AVENUE                                                    PALM CITY       FL    34990                  LICENSING AGREEMENT                                    2/11/16
OPTIMA HEALTHCARE SOLUTIONS LLC            ATTN: STEPHAN C. MACKIE                     4229 SOUTHWEST HIGH MEADOWS AVENUE                                                    PALM CITY       FL    34990                  LICENSING AGREEMENT                                    2/13/16
OXFORD HEALTH PLANS (NY) INC               ATTN: GENERAL COUNSEL                       300 MERIDIAN CENTER BOULEVARD                   SUITE 320                             ROCHESTER       NY    14618                  SERVICE CONTRACT                         Not dated
PATIENT 2751                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/19/2017
PATIENT 2777                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      12/26/2018
PATIENT 2784                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/5/2019
PATIENT 2800                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/8/2019
PATIENT 2861                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/4/2019
PATIENT 2869                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      6/25/2019
PATIENT 2883                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      6/14/2019
PATIENT 5175                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      4/7/2016
PATIENT 5176                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/11/2019
PATIENT 5177                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      5/31/2018
PATIENT 5178                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      2/7/2017
PATIENT 5179                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/29/2018
PATIENT 5180                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/23/2016
PATIENT 5181                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      11/1/2015
PATIENT 5182                               ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      4/27/2018




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                                                                                            In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                                     Case No. 19-76263
                                                                                                   Schedule G: Executory Contracts and Unexpired Leases

                                                                                                                                                                                                                      Description of Contract or Lease and   Date of Contract or
               Counterparty Name                      Address1                                Address2                                   Address3                        City       State       Zip       Country         Nature of Debtor's Interest        Lease
PATIENT 5183                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      5/31/2019
PATIENT 5184                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/27/2018
PATIENT 5185                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/20/2018
PATIENT 5186                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      6/5/2018
PATIENT 5187                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      2/7/2011
PATIENT 5188                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      6/12/2019
PATIENT 5189                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      10/27/2018
PATIENT 5190                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      10/4/2019
PATIENT 5191                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/13/2011
PATIENT 5192                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/31/2019
PATIENT 5193                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      10/2/2019
PATIENT 5194                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      1/31/2012
PATIENT 5195                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      12/3/2018
PATIENT 5196                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      10/4/2019
PATIENT 5197                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      12/17/2011
PATIENT 5198                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      5/19/2016
PATIENT 5199                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      9/1/2017
PATIENT 5200                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/19/2019
PATIENT 5201                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      2/10/2017
PATIENT 5202                         ADDRESS ON FILE                                                                                                                                                                ADMISSION AGREEMENT                      8/30/2016
PGBA LLC                             ATTN: TRICARE PROVIDER DATA MANAGEMENT PO BOX 870156                                                                          SURFSIDE BEACH   SC      29587-9756              SERVICE CONTRACT                         Not dated

PREVENTIVE DIAGNOSTICS INC           ATTN: GENERAL COUNSEL                  544 PARK AVENUE                                                                        BROOKLYN         NY      11205                   SERVICE CONTRACT                                      7/25/12
THE PARK ASSOCIATES INC              ATTN: GENERAL COUNSEL                  1181 QUAKER ROAD                                                                       EAST AURORA      NY      14052                   LICENSING AGREEMENT                                   6/23/07
TIME WARNER CABLE ENTERPRISES LLC    ATTN: GENERAL COUNSEL                  2620 WEST HENRIETTA ROAD                                                               ROCHESTER        NY      14623                   SERVICE AND MARKETING AGREEMENT                       7/29/16
                                                                                                                                                                                                                    FOR 2178 N 5TH STREET
TIME WARNER CABLE ENTERPRISES LLC    ATTN: GENERAL COUNSEL                  2620 WEST HENRIETTA ROAD                                                               ROCHESTER        NY      14623                   EASEMENT AND MEMORANDUM OF                            7/29/16
                                                                                                                                                                                                                    AGREEMENT FOR 2178 N 5TH STREET
TOTAL SENIOR CARE INC                ATTN: GENERAL COUNSEL                  519 NORTH MAIN STREET                                                        OLEAN                      NY      14760-2618              SERVICE CONTRACT                                      7/22/11
UNITEDHEALTHCARE                     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   INSURANCE CONTRACTS                      Not dated
UNITEDHEALTHCARE                     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   INSURANCE CONTRACTS                      Not dated
UNITEDHEALTHCARE                     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   INSURANCE CONTRACTS                      Not dated
UNITEDHEALTHCARE                     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   INSURANCE CONTRACTS                      Not dated
UNITEDHEALTHCARE                     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   INSURANCE CONTRACTS                      Not dated
UNITEDHEALTHCARE INSURANCE COMPANY   ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   SERVICE CONTRACT                         Not dated
UNITEDHEALTHCARE OF NEW YORK INC     ATTN: GENERAL COUNSEL                  300 MERIDIAN CENTER BOULEVARD                    SUITE 320                   ROCHESTER                  NY      14618                   SERVICE CONTRACT                         Not dated
UNIVERA COMMUNITY HEALTH INC         ATTN: GENERAL COUNSEL                  205 PARK CLUB LANE                                                           BUFFALO                    NY      14221-5239              SERVICE CONTRACT                                      4/13/15
UNIVERA HEALTHCARE                   ATTN: GENERAL COUNSEL                  205 PARK CLUB LANE                                                           BUFFALO                    NY      14221-4578              SERVICE CONTRACT                                      7/18/11
US DEPARTMENT OF HOUSING AND URBAN   ATTN: GENERAL COUNSEL                  465 MAIN STREET                                  LAFAYETTE COURT, 22ND FLOOR BUFFALO                    NY      14203-1780              REGULATORY AGREEMENT -                                5/21/09
DEVELOPMENT                                                                                                                                                                                                         MULTIFAMILY HOUSING PROJECTS
US DEPARTMENT OF HOUSING AND URBAN   ATTN: GENERAL COUNSEL                  465 MAIN STREET                                  LAFAYETTE COURT, 22ND FLOOR BUFFALO                    NY      14203-1780              LEASE: BUILDING AND LAND                              5/21/09
DEVELOPMENT
VNA HOMECARE OPTIONS LLC             ATTN: GENERAL COUNSEL                  1050 WEST GENESEE STREET                                                               SYRACUSE         NY      13204                   SERVICE CONTRACT                                       6/1/18
VNS CHOICE                           ATTN: GENERAL COUNSEL                  107 E 70TH STREET                                                                      NEW YORK         NY      10021                   SERVICE CONTRACT                         Not dated
WELLCARE OF NEW YORK INC             ATTN: EXECUTIVE DIRECTOR - NETWORK     ONE NEW YORK PLAZA                               15TH FLOOR                            NEW YORK         NY      10004                   SERVICE CONTRACT                         Not dated
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      7/29/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                     11/12/15
WESCOM SOLUTIONS INC                 ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                     12/30/15
WESCOM SOLUTIONS INC D/B/A           ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
POINTCLICKCARE
WESCOM SOLUTIONS INC D/B/A           ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      9/13/15
POINTCLICKCARE
WESCOM SOLUTIONS INC. DBA AS         ATTN: GENERAL COUNSEL                  6975 CREDITVIEW ROAD                             UNIT 4                                MISSISSAUGA      ON      L5N 8E9      CANADA     SERVICE CONTRACT                                      1/28/15
POINTCLICKCARE
ZOLL SERVICES LLC                    ATTN: GENERAL COUNSEL                  121 GAMMA DRIVE                                                                        PITTSBURGH       PA      15238-2919              SERVICE CONTRACT                                      5/23/18




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 Fill in this information to identify the case:

 Debtor name         Absolut Center for Nursing and Rehabilitation at Allegany, LLC

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF NEW YORK

 Case number (if known)         19-76263
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:

    2.1      See Schedule H                                                                                                         D
             Attachment                                                                                                             E/F
                                                                                                                                    G




Official Form 206H                                                         Schedule H: Your Codebtors                                         Page 1 of 1
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                                                                                     Case 8-19-76260-ast        Doc 154     Filed 10/16/19      Entered 10/16/19 09:23:41


                                                                                                In re Absolut Center for Nursing and Rehabilitation at Allegany, LLC
                                                                                                                         Case No. 19-76263
                                                                                                                      Schedule H: CoDebtors




                             Name of Codebtor                              Address1              Address2           Address3     Address4         City         State        Zip     Country               Name of Creditor                Applicable Schedules (D, E/F, G)
Absolut at Orchard Brooke, LLC                                       2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut at Orchard Brooke, LLC                                       6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D
Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC    Chip Woelper         1422 Clarkview Road                               Baltimore         MD       21209-0000             Capital Finance LLC Claim - Acct 0003   D
Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC    2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut Center for Nursing and Rehabilitation at Aurora Park, LLC    6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D
Absolut Center for Nursing and Rehabilitation at Gasport, LLC        Chip Woelper         1422 Clarkview Road                               Baltimore         MD       21209-0000             Capital Finance LLC Claim - Acct 0003   D
Absolut Center for Nursing and Rehabilitation at Gasport, LLC        2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut Center for Nursing and Rehabilitation at Gasport, LLC        6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC   Chip Woelper         1422 Clarkview Road                               Baltimore         MD       21209-0000             Capital Finance LLC Claim - Acct 0003   D
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC   2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut Center for Nursing and Rehabilitation at Orchard Park, LLC   6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D
Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC   Chip Woelper         1422 Clarkview Road                               Baltimore         MD       21209-0000             Capital Finance LLC Claim - Acct 0003   D
Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC   2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut Center for Nursing and Rehabilitation at Three Rivers, LLC   6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D
Absolut Center for Nursing and Rehabilitation at Westfield, LLC      2 Bergen Turnpike                                                      Ridgefield Park   NJ       07660                  Specialty RX                            D
Absolut Center for Nursing and Rehabilitation at Westfield, LLC      6300 Wilshire Blvd   Suite 1800                                        Los Angeles       CA       90048                  The ARBA Group, Inc.                    D




                                                                                                                               1 of 1
                    Case 8-19-76260-ast                Doc 154          Filed 10/16/19           Entered 10/16/19 09:23:41




Fill in this information to identify the case:

Debtor name         Absolut Center for Nursing and Rehabilitation at Allegany, LLC

United States Bankruptcy Court for the:     EASTERN DISTRICT OF NEW YORK

Case number (if known)     19-76263
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       October 16, 2019                X /s/ Michael Wyse
                                                           Signature of individual signing on behalf of debtor

                                                            Michael Wyse
                                                            Printed name

                                                            Chief Restructuring Officer
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
